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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION



CADDO SYSTEMS, INC. and 511
TECHNOLOGIES, INC.,
                                                        Civil Action No. 6:20-cv-245
                Plaintiffs,

         v.
                                                        DEMAND FOR JURY TRIAL
MICROCHIP TECHNOLOGY
INCORPORATED,

                Defendant.




                       COMPLAINT FOR PATENT INFRINGEMENT

         In this action for patent infringement Plaintiffs Caddo Systems, Inc. and 511

Technologies, Inc.(“Plaintiffs”) hereby make the following allegations against Defendant

Microchip Technology Incorporated (“Defendant” or “Microchip”):

                                  NATURE OF THE ACTION

         1.     This is an action for patent infringement arising under the Patent Laws of the

United States, 35 U.S.C. § 1 et seq.

                                          THE PARTIES

         2.     Plaintiff Caddo Systems, Inc. (“Caddo”) is a Texas corporation with its principal

place of business in the 511 Technology Center at 511 N. Washington Avenue, Marshall, Texas

75670.

         3.     Plaintiff 511 Technologies, Inc. (“511 Tech”) is a Texas corporation with its

principal place of business at 511 N. Washington Avenue, Marshall, Texas 75670. Since 2010,



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511 Tech has operated the 511 Technology Center, including the provision of invention, patent

and product development support services in diverse fields including color measurement, flash

storage devices, communication protocols, electronic circuitry, software development, energy

storage and control, cloud-connected industrial and consumer products, medical diagnostic

device, and art instruction from its headquarters in the former Coca-Cola bottling plant located in

the Ginocchi Historic District in Marshall, Texas.

       4.      In collaboration with 511 Tech and others working in the 511 Technology Center,

Caddo researches, designs, and develops information systems, including systems based on the

Asserted Patents. The Caddo and 511 Tech collaboration includes software products based on

inventions described and claimed in the Asserted Patents.

       5.      Caddo is the owner by assignment of 100% interest in the Asserted Patents. 511

Tech has the exclusive license to practice and develop the inventions of the Asserted Patents.

       6.      On information and belief, Defendant Microchip is a Delaware corporation with

its principal place of business located at 8601 Ranch Road 2222, Park Centre, Bldg. 3, Austin,

Texas 78730. Upon information and belief, Microchip is authorized to do business in Texas and

may be served through its registered agent CT Corporation System, 1999 Bryan Street, Suite

900, Dallas, Texas 75201.

                                JURISDICTION AND VENUE

       7.      This action for patent infringement arises under the patent laws of the United

States, Title 35 of the United States Code.

       8.      This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a).

       9.      This Court has personal jurisdiction over Microchip because it has sufficient

minimum contacts with this forum as a result of business conducted within the State of Texas

and within the Eastern District of Texas. For example, Microchip has a place of business in this


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District at 8601 Ranch Road 2222, Park Centre, Bldg. 3, Austin, Texas 78730. Personal

jurisdiction also exists specifically over Microchip because Microchip, directly or through

subsidiaries or intermediaries, makes, uses, offers for sale, or sells products or services within the

State of Texas and within the Western District of Texas through accused instrumentalities that

directly or indirectly infringe the Asserted Patents (as discussed further below).

        10.     On information and belief, Defendant Microchip designs, develops, manufactures,

sells, offers to sell, and/or imports products, devices, systems, and/or components of systems

through certain accused instrumentalities that either infringe or support the infringement of the

patents asserted in this action.

        11.     On information and belief, Microchip sells and offers to sell products and services

throughout the United States and in Texas, including in this District, through the accused

instrumentalities, through major electronics retailers in the United States, and in concert and

partnership with third parties.

        12.     Furthermore, personal jurisdiction over Microchip in this action comports with

due process. Microchip has conducted and regularly conducts business within the United States

and this District. Microchip has purposefully availed itself of the privileges of conducting

business in the United States, and more specifically in the State of Texas and this District.

Microchip has sought protection and benefit from the laws of the State of Texas by making

available products and services, including websites and associated web pages, that infringe the

Asserted Patents with the awareness and/or intent that they will be used (or visited) by

consumers in this District. Having purposefully availed itself of the privilege of conducting

business within this District, Microchip should reasonably and fairly anticipate being brought

into court here.




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        13.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391 and 1400(b) at least

because Microchip is subject to personal jurisdiction in this District and has regularly conducted

business in this District, and because certain of the acts complained of herein occurred in this

District. On information and belief, Microchip makes, uses, sells, offers to sell, and/or imports,

within the state of Texas and in this District, products and services through the accused

instrumentalities that infringe the Asserted Patents.

        14.      Additionally, Microchip—directly or through intermediaries (including

distributors, retailers, and others), subsidiaries, alter egos, and/or agents—ships, distributes,

offers for sale, and/or sells its products and services in the United States and this District.

Microchip has purposefully and voluntarily placed one or more of its products into the stream of

commerce through the accused instrumentalities that infringe the Asserted Patents with the

awareness and/or intent that they will be purchased by consumers in this District. Microchip

knowingly and purposefully ships infringing products into, and within, this District. These

infringing products have been, and continue to be, purchased by consumers and businesses in

this District.

                                    THE ASSERTED PATENTS

        15.      On March 13, 2007, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued U.S. Patent No. 7,191,411 (“the ’411 Patent”), entitled “Active Path

Menu Navigation System.” A copy of the ’411 Patent is attached hereto as Exhibit 1.

        16.      Plaintiffs own all substantial right, title, and interest in the ’411 Patent, and hold

the right to sue and recover damages for infringement thereof, including past infringement.




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       17.     On May 8, 2007, the USPTO duly and legally issued U.S. Patent No. 7,216,301

(“the ’301 Patent”), entitled “Active Path Menu Navigation System.” A copy of the ’301 Patent

is attached hereto as Exhibit 2.

       18.     Plaintiffs own all substantial right, title, and interest in the ’301 Patent, and hold

the right to sue and recover damages for infringement thereof, including past infringement.

       19.     On December 29, 2009, the USPTO duly and legally issued U.S. Patent No.

7,640,517 (“the ’517 Patent”), entitled “Active Path Menu Navigation System.” A copy of the

’517 Patent is attached hereto as Exhibit 3.

       20.     Plaintiffs own all substantial right, title, and interest in the ’517 Patent, and hold

the right to sue and recover damages for infringement thereof, including past infringement.

       21.     On May 25, 2010, the USPTO duly and legally issued U.S. Patent No. 7,725,836

(“the ’836 Patent”), entitled “Active Path Menu Navigation System.” A copy of the ’836 Patent

is attached hereto as Exhibit 4.

       22.     Plaintiffs own all substantial right, title, and interest in the ’836 Patent, and hold

the right to sue and recover damages for infringement thereof, including past infringement.

       23.     On January 8, 2013, the USPTO duly and legally issued U.S. Patent No.

8,352,880 (“the ’880 Patent”), entitled “Active Path Menu Navigation System.” A copy of the

’880 Patent is attached hereto as Exhibit 5.

       24.     Plaintiffs own all substantial right, title, and interest in the ’880 Patent, and hold

the right to sue and recover damages for infringement thereof, including past infringement.

       25.     On July 31, 2018, the USPTO duly and legally issued U.S. Patent No. 10,037,127

(“the ’127 Patent”), entitled “Active Path Menu Navigation System.” A copy of the ’127 Patent

is attached hereto as Exhibit 6.




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                COUNT I - INFRINGEMENT OF U.S. PATENT NO. 7,191,411

          26.   Plaintiffs incorporate and reallege the preceding paragraphs as if fully set forth

herein.

          27.   The ’411 Patent is directed to systems and methods for navigating within a multi-

level hierarchical collapsing menu structure, as described and claimed in the ’411 Patent.

          28.   Defendant has and continues to directly infringe at least Claims 1-4 and 6 of the

’411 Patent, in this judicial District and elsewhere in the United States, pursuant to 35 U.S.C. §

271(a), literally or under the doctrine of equivalents, by, among other things, by making, using,

selling, offering to sell, and/or importing in or into the United States, without authority: (i) web

pages and content to be interactively presented in browsers, including, without limitation, the

web pages and content accessible via https://www.microchip.com/ and maintained on servers

located in and/or accessible from the United States under the control of Defendant; (ii) software,

including, without limitation, software that allows content to be interactively presented in and/or

served to browsers; (iii) computer equipment including, without limitation, computer equipment

that stores, serves, and/or runs any of the foregoing or that allows navigating within a multi-level

hierarchical collapsing menu structure, where each level in the menu structure contains plural

items, each item being at least one of a function, a pointer to a location, and a pointer to another

level (hereinafter, the “’411 Accused Instrumentalities”) as shown below:




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See, e.g., https://www.microchip.com/design-centers/automotive-solutions/automotive-

applications (last visited Feb. 10, 2020) (annotated).

       29.     By way of example, the ’411 Accused Instrumentalities provide a method for

navigating within a multi-level hierarchical collapsing menu structure where each level in the

menu contains plural items, each said item being at least one of a function, a pointer to a

location, and a pointer to another level (e.g., the ’411 Accused Instrumentalities provide a

method for navigating a multi-level hierarchical collapsing menu structure that includes a multi-

level hierarchy where each level in the menu contains plural items, each said item being at least

one of a function, a pointer to a location, and a pointer to another level (e.g., “Products” includes

“Amplifiers and Linear,” which includes “Operational Amplifiers,” “Instrumentation

Amplifiers,” “Current Sense Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and

“DC Power Current Monitors”)) as shown below:




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See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       30.     More specifically, the ’411 Accused Instrumentalities provide a graphical user

menu system displaying the items of a given level and enabling selection thereof (e.g.,

“Products” displays and enables selection of items of a given level, such as “Amplifiers and

Linear” and items within that same level), wherein access of said given level requires sequential

access of each of the levels preceding said given level in the hierarchy (e.g., to access

“Amplifiers and Linear,” “Products” is accessed first; similarly, to access “Comparators,”

“Products” is accessed first, followed by accessing “Amplifiers and Linear”); automatically

constructing an Active Path as a sequence of hierarchical active links as items are selected using

the graphical user menu system without the need for any additional interaction with the graphical

user system (e.g., the ’411 Accused Instrumentalities automatically construct an active path (e.g.,

“Amplifiers and Linear—Comparators”) as a sequence of hierarchical active links as items are


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selected (e.g., as “Amplifiers and Linear” and “Comparators” are selected)), with one said active

link corresponding to each of the items selected (e.g., the ’411 Accused Instrumentalities’ active

path “Amplifiers and Linear—Comparators” corresponds to each of the items selected, including

“Amplifiers and Linear” and “Comparators”) as shown below:




See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       31.     Also, each active link in the ’411 Accused Instrumentalities is independently

selectable thereby providing direct access to the hierarchical level from which the corresponding

item was selected without the need to navigate using said graphical user menu system (e.g., in

the example above, the active link “Amplifiers and Linear” is independently selectable to thereby

providing direct access to the hierarchical level from which “Amplifiers and Linear” was

selected without the need to navigate using Microchip’s graphical user menu system; as another

example, the active link “Comparators” is independently selectable to thereby providing direct

access to the hierarchical level from which “Comparators” was selected without the need to

navigate using Microchip’s graphical user menu system).

       32.     The ’411 Accused Instrumentalities’ active path is displayed as an alternative to

the graphical user menu system for navigating the multi-level hierarchical collapsing menu

structure after the user has finished selecting items using the graphical user system (e.g., the ’411

Accused Instrumentalities display the Active Path as an alternative to Defendant’s graphical user

menu system for navigating the multi-level hierarchical collapsing menu structure after the user



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has finished selecting items, such as “Amplifiers and Linear” and “Comparators” using

Microchip’s graphical user menu system such that Microchip’s Active Path is displayed after the

multi-level hierarchical collapsing menu structure has collapsed) such that the Active Path is

displayed after the multi-level hierarchical collapsing menu structure has collapsed (e.g., the

Active Path is displayed after the multi-level hierarchical collapsing menu structure showing

“Products” has collapsed) as shown below:




See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       33.     On information and belief, in the ’411 Accused Instrumentalities, pre-selecting a

given active link triggers the display of sibling menu items on the level associated with said

given active link without disturbing the displayed Active Path (e.g., pre-selecting the “Amplifiers



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and Linear” active link triggers the display of sibling menu items, such as “Operational

Amplifiers,” “Instrumentation Amplifiers,” “Current Sense Amplifiers,” “Comparators,”

“Programmable Gain Amplifiers,” and “DC Power Current Monitors” without disturbing the

displayed Active Path).

       34.     On information and belief, the ’411 Accused Instrumentalities provide pre-

defined short-cuts enabling direct access to a given menu item (e.g., the ’411 Accused

Instrumentalities provide pre-defined shortcuts, such as “Amplifiers and Linear” or

“Comparators” in the collapsing menu enabling direct access to a given menu item); and

automatically constructing the Active Path when a pre-defined short-cut is executed, with one

said active link corresponding to each of the menu items necessary to access said given menu

item using said graphical user menu system (e.g., the active path is automatically constructed

when “Amplifiers and Linear” or “Comparators” is executed, with each active link “Amplifiers

and Linear” or “Comparators” corresponding to each of the menu items necessary to access the

given menu item using the graphical user menu system).

       35.     On information and belief, in the ’411 Accused Instrumentalities, selecting a

given active link triggers the execution of a function associated with said given active link (e.g.,

selecting a given active link such as “Amplifiers and Linear” triggers the execution of a function,

such as displaying sibling menus (e.g., “Operational Amplifiers,” “Instrumentation Amplifiers,”

“Current Sense Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and “DC Power

Current Monitors”) or directing user to certain content).

       36.     On information and belief, in the ’411 Accused Instrumentalities, selecting a

given active link triggers display of information associated with said given active link (e.g., the

’411 Accused Instrumentalities allow selecting the link “Amplifiers and Linear” to trigger




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display of information (e.g., displaying “Operational Amplifiers,” “Instrumentation Amplifiers,”

“Current Sense Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and “DC Power

Current Monitors”) associated with the link “Amplifiers and Linear”).

       37.     On information and belief, in the ’411 Accused Instrumentalities, pre-selecting a

given menu item displayed while pre-selecting the given active link triggers the display of

subordinate menu items (e.g., pre-selecting “Automotive Products” displayed while pre-selecting

“Automotive Solution” triggers the display of subordinate menu items, such as

“Microcontrollers,” “Analog Products,” “Connectivity,” “Automotive Touch,” “Car Access,”

“memory Products,” “High Temperature Products,” “Timing Solutions,” and “Automotive

Security”) as shown below:




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See, e.g., https://www.microchip.com/design-centers/automotive-solutions (last visited Feb. 10,

2020).

          38.   Discovery is expected to uncover the full extent of Defendant’s infringement of

the ’411 Patent beyond the ’411 Accused Instrumentalities already identified through public

information.

          39.   Upon information and belief, Defendant has induced and continues to induce

others to infringe at least Claims 1-4 and 6 of the ’411 Patent under 35 U.S.C. § 271(b) by,

among other things, and with specific intent or willful blindness, actively aiding and abetting

others to infringe, including but not limited to Defendant’s new, current, and prospective users,

partners, customers and other third parties, whose use of the ’411 Accused Instrumentalities

constitutes direct infringement of at least Claims 1-4 and 6 of the ’411 Patent.

          40.   In particular, Defendant’s actions that aid and abet others such as its new, current,

and prospective users, partners, customers and third parties to infringe include advertising the

’411 Accused Instrumentalities. On information and belief, Defendant has engaged in such

actions with specific intent to cause infringement or with willful blindness to the resulting

infringement because Defendant has had actual knowledge of the ’411 Patent and knowledge

that its acts were inducing infringement of the ’411 Patent since at least the date Defendant

received notice based on the filing of this Complaint that such activities infringed the ’411

Patent.

          41.   Defendant’s acts of inducement include, without limitation: providing the ’411

Accused Instrumentalities to its new, current, and prospective users, partners, and customers, and

other third parties and intending them to use the ’411 Accused Instrumentalities that enable

and/or make use of content published therein; encouraging customers and other third parties to




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communicate directly with Defendant’s representatives about the ’411 Accused Instrumentalities

and content published therein for purposes of technical assistance as well as sales and marketing

(see, e.g., https://microchipsupport.force.com/s/ (providing consumers with a technical support

portal through which technical issues and concerns regarding the ’411 Accused Instrumentalities

can be addressed); see, e.g., https://microchipsupport.force.com/s/support-

resources?tabName=Contact (providing contact information for technical support regarding the

’411 Accused Instrumentalities); see also id. (providing a community platform for discussing the

’411 Accused Instrumentalities or content published therein); see also

https://www.facebook.com/microchiptechnology/ (encouraging customers and other third parties

to use the ’411 Accused Instrumentalities to access content published therein (e.g., providing an

URL (https://page.microchip.com/ew-

Timing.html?utm_campaign=EmbeddedWorld2020&utm_source=facebook.com&utm_medium

=Post&utm_content=SharePoint43895.5417&fbclid=IwAR2TVwazReb1Ul3TgRAgkut-

aZY3eE_ikA0HfXVGI6vjYdziBuNwa5BtxOo) to a “Timing and System Solutions” webpage

that can be accessed using the ’411 Accused Instrumentalities)); see also

https://www.microchip.com/about-us/company-information/acquisitions (recommending

investors and other third parties use the ’411 Accused Instrumentalities to access financial

information relating to Microchip’s cooperate operations and acquisitions); see also

https://www.microchip.com/documentlisting/financial-press-releases (for example,

https://www.microchip.com/investor/Pressrelease/MCHP%20Announces%20Financial%20Resul

ts%20for%20Q3FY20.020420.pdf providing an URL (www.microchip.com) to the ’411

Accused Instrumentalities); see also

https://twitter.com/MicrochipTech?ref_src=twsrc%5Egoogle%7Ctwcamp%5Eserp%7Ctwgr%5E




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author, https://www.facebook.com/microchiptechnology/ and

https://www.linkedin.com/posts/microchip-technology_from-simple-buffers-and-clock-

generators-activity-6641422443871383552-bbea (Defendant’s social media accounts promoting

the use of ’411 Accused Instrumentalities through which various media content can be accessed);

providing press releases encouraging customers and other third parties to use the ’411 Accused

Instrumentalities to access content (for example, providing an URL (www.microchip.com) to the

“Microchip” main webpage that can be accessed using the ’411 Accused Instrumentalities); and

https://www.microchip.com/blog (providing blogs encouraging customers and other third parties

to use the ’411 Accused Instrumentalities to access content (for example, providing an URL

(https://www.microchip.com/wwwproducts/en/MCP6C02) to a “MCP6C02” webpage that can

be accessed using the ’411 Accused Instrumentalities))).

       42.     Defendant performed acts of inducement despite its actual knowledge since at

least the filing date of this Complaint and its knowledge that the specific actions it actively

induced and continues to actively induce on the part of its users, partners, and customers, and

other third parties constitute infringement of the ’411 Patent. At the very least, because

Defendant has been, and remains, on notice of the ’411 Patent and the accused infringement, it

has been, and remains, willfully blind regarding the infringement that it has induced and

continues to induce.

       43.     On information and belief, Defendant has contributed to, and continues to

contribute to, infringement of at least Claims 1-4 and 6 of the ’411 Patent pursuant to 35 U.S.C.

§ 271(c) by providing the ’411 Accused Instrumentalities that have contributed, and continue to

contribute, to the direct infringement of new, current, and prospective users, partners, customers

and other third parties with the knowledge (at least as of the filing date of this Complaint) that




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the ’411 Accused Instrumentalities are especially made or adapted for use in an infringement of

the ’411 Patent. For example, by providing the web pages, software, and computer equipment

identified above, Defendant contributes to the direct infringement of users of said web pages,

software, and computer equipment. The ’411 Accused Instrumentalities are material

components or apparatuses for use in practicing the ’411 Patent and are not staple articles of

commerce suitable for substantial non-infringing use.

        44.     For example, the ’411 Accused Instrumentalities provide a graphical user menu

system through which a user can navigate within a multi-level hierarchical collapsing system

according to the claimed invention(s). Defendant supplied, and continues to supply, the ’411

Accused Instrumentalities, or components or apparatuses thereof, with the knowledge of the ’411

Patent and with the knowledge that these components or apparatuses constitute critical and

material parts of the claimed inventions of the ’411 Patent. Moreover, Defendant knows at least

by virtue of its knowledge of its own products and services and the ’411 Patent that the ’411

Accused Instrumentalities are especially made and/or especially adapted for use as claimed in the

’411 Patent and there is no substantial non-infringing use of these components or apparatuses.

        45.     Defendant has directly and indirectly infringed the ’411 Patent and is thus liable

for infringement of the ’411 Patent pursuant to 35 U.S.C. § 271.

        46.     Plaintiffs have suffered, and continue to suffer, damages as a result of

Defendant’s infringement of the ’411 Patent.

        47.     Defendant has continued to infringe the ’411 Patent since at least the filing date of

this Complaint, despite being on notice of the ’411 Patent and its infringement. Defendant has

therefore infringed the ’411 Patent knowingly, willfully, deliberately, and in disregard of

Plaintiffs’ patent rights since at least the filing date of this Complaint, at least by infringing with




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actual knowledge of its direct and indirect infringement or while remaining willfully blind to the

fact of its direct and indirect infringement. As a result of at least this conduct, Plaintiffs are

entitled to enhanced damages under 35 U.S.C. § 284 and to attorneys’ fees and costs under 35

U.S.C. § 285.

          48.   Plaintiffs reserve the right to modify its infringement theories as discovery

progresses in this case. Plaintiffs shall not be estopped for purposes of its infringement

contentions or its claim constructions by the foregoing discussions on how the ’411 Accused

Instrumentalities infringe the ’411 Patent. Plaintiffs intend only that the foregoing discussions

satisfy the notice requirements of Rule 8(a)(2) of the Federal Rule of Civil Procedure, and that

they should not be construed as Plaintiffs’ preliminary or final infringement contentions or

preliminary or final claim construction positions.

                COUNT II - INFRINGEMENT OF U.S. PATENT NO. 7,216,301

          49.   Plaintiffs incorporate and reallege the preceding paragraphs as if fully set forth

herein.

          50.   The ’301 Patent is directed to systems and methods for navigating within a multi-

level hierarchical information structure, as described and claimed in the ’301 Patent.

          51.   Defendant has and continues to directly infringe at least Claims 1-5 and 9 of the

’301 Patent, in this judicial District and elsewhere in the United States, pursuant to 35 U.S.C. §

271(a), literally or under the doctrine of equivalents, by, among other things, by making, using,

selling, offering to sell, and/or importing in or into the United States, without authority: (i) web

pages and content to be interactively presented in browsers, including, without limitation, the

web pages and content accessible via https://www.microchip.com/ and maintained on servers

located in and/or accessible from the United States under the control of Defendant; (ii) software,




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including, without limitation, software that allows content to be interactively presented in and/or

served to browsers; (iii) computer equipment, including, without limitation, computer equipment

that stores, serves, and/or runs any of the foregoing or that allows navigating within a multi-level

hierarchical information structure, where each level in the information structure contains plural

items, each item being at least one of a function, a pointer to a location, and a pointer to another

level (hereinafter, the “’301 Accused Instrumentalities”) as shown below:




See, e.g., https://www.microchip.com/design-centers/automotive-solutions/automotive-

applications (last visited Feb. 10, 2020) (annotated).

       52.     By way of example, the ’301 Accused Instrumentalities provide a method for

navigating within a multi-level hierarchical information structure where each level in the

information structure contains plural items, each said item being at least one of a function, a

pointer to a location, and a pointer to another level (e.g., the ’301 Accused Instrumentalities

provide a method for navigating within a multi-level hierarchical collapsing menu structure

where each level in the information structure contains plural items, each said item being at least

one of a function, a pointer to a location, and a pointer to another level (e.g., “Products” includes




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“Amplifiers and Linear,” which includes “Operational Amplifiers,” “Instrumentation

Amplifiers,” “Current Sense Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and

“DC Power Current Monitors”)) as shown below:




See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       53.     More specifically, the ’301 Accused Instrumentalities provide a graphical user

menu system displaying the items of a given level of the hierarchical information structure and

enabling selection thereof (e.g., “Products” displays and enables selection of items of a given

level, such as “Amplifiers and Linear” and items within that same level); and dynamically

constructing an Active Path as a sequence of active links as items are selected using the graphical

user menu system (e.g., the ’301 Accused Instrumentalities dynamically construct an active path

(e.g., “Amplifiers and Linear—Comparators”) as a sequence of active links as items are selected

(e.g., as “Amplifiers and Linear” and “Comparators” are selected)), with one said active link


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corresponding to each of the items selected, said active links providing direct access to one of a

function, corresponding level and menu item without the need to navigate using said graphical

user menu system (e.g., the ’301 Accused Instrumentalities’ active path “Amplifiers and

Linear—Comparators” corresponds to each of the items selected, including “Amplifiers and

Linear” and “Comparators”) as shown below:




See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       54.     Also, each active link in the ’301 Accused Instrumentalities enables the user to

directly browse all items on any given level of the hierarchical information structure including all

hierarchically subordinate items without affecting the Active Path (e.g., the ’301 Accused

Instrumentalities enable the user to directly browse all items under “Amplifiers and Linear” such

as “Operational Amplifiers,” “Instrumentation Amplifiers,” “Current Sense Amplifiers,”

“Comparators,” “Programmable Gain Amplifiers,” and “DC Power Current Monitors” without

affecting the active path “Amplifiers and Linear—Comparators”) as shown below:




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See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       55.     On information and belief, the ’301 Accused Instrumentalities provide pre-

defined short-cuts enabling direct access to a given menu item (e.g., the ’301 Accused

Instrumentalities provide pre-defined shortcuts, such as “Amplifiers and Linear” or

“Comparators” in the collapsing menu, enabling direct access to a given menu item); and

dynamically constructing the Active Path when a pre-defined short-cut is executed, with one said

active link corresponding to each of the items necessary to access said given item using said

graphical user menu system (e.g., the Active Path is dynamically constructed when “Amplifiers

and Linear” is executed, with the active link “Amplifiers and Linear” corresponding to the menu

item “Amplifiers and Linear” necessary to access the menu item using Defendant’s graphical

user menu system).


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         56.   On information and belief, in the ’301 Accused Instrumentalities, rolling over a

selected active link triggers the display of sibling items on the hierarchically subordinate levels

associated with said selected active link (e.g., the ’301 Accused Instrumentalities allow rolling

over the link “Amplifiers and Linear” to trigger the display of sibling items on the hierarchically

subordinate levels associated with the selected active link “Amplifiers and Linear” such as

“Operational Amplifiers,” “Instrumentation Amplifiers,” “Current Sense Amplifiers,”

“Comparators,” “Programmable Gain Amplifiers,” and “DC Power Current Monitors”) as shown

below:




See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

         57.   On information and belief, the ’301 Accused Instrumentalities allow selecting a

given active link to trigger the execution of a function associated with said given active link

(e.g., selecting a given active link such as “Amplifiers and Linear” triggers the execution of a


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function, such as displaying sibling menus (e.g., “Operational Amplifiers,” “Instrumentation

Amplifiers,” “Current Sense Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and

“DC Power Current Monitors”) or directing user to certain content).

       58.     On information and belief, the ’301 Accused Instrumentalities allow selecting a

given active link to trigger display of information associated with said given active link (e.g., the

’301 Accused Instrumentalities allow selecting the link “Amplifiers and Linear” to trigger

display of information (e.g., displaying “Operational Amplifiers,” “Instrumentation Amplifiers,”

“Current Sense Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and “DC Power

Current Monitors”) associated with the link “Amplifiers and Linear”).

       59.     On information and belief, the ’301 Accused Instrumentalities provide a method

for navigating within a multi-level hierarchical information structure where each level in the

structure contains plural items, each said item being at least one of a function, a pointer to a

location, and a pointer to another level as shown below:




See, e.g., https://www.microchip.com/design-centers/automotive-solutions/automotive-

applications (last visited Feb. 10, 2020) (annotated).




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       60.     By way of example, the ’301 Accused Instrumentalities provide a method for

navigating within a multi-level hierarchical information structure where each level in the

structure contains plural items, each said item being at least one of a function, a pointer to a

location, and a pointer to another level (e.g., the ’301 Accused Instrumentalities provide a

method for navigating within a multi-level hierarchical collapsing menu structure where each

level in the information structure contains plural items, each said item being at least one of a

function, a pointer to a location, and a pointer to another level (e.g., “Products” includes

“Amplifiers and Linear,” which includes “Operational Amplifiers,” “Instrumentation

Amplifiers,” “Current Sense Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and

“DC Power Current Monitors”)) as shown below:




See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).




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       61.     More specifically, the ’301 Accused Instrumentalities provide displaying a

graphic element representing a root of the hierarchical information structure (e.g., the ’301

Accused Instrumentalities display a number of graphic elements each representing a root of the

hierarchical information structure) as shown below:




See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020) (annotated).

       62.     Also, the ’301 Accused Instrumentalities allow browsing the hierarchical

information structure by rolling over said graphic element using a pointing device (e.g., by

rolling over a mouse over the “Applications and Linear” or the “down arrow”), wherein

browsing results in the display of sibling items or hierarchically subordinate items (e.g.,

browsing results in the display of items such as “Operational Amplifiers,” “Instrumentation

Amplifiers,” “Current Sense Amplifiers,” “Comparators,” “PGAs,” and “DC Power Current

Monitors”) as shown below:




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See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       63.     Also, the ’301 Accused Instrumentalities allow selecting one of the displayed

items (e.g., selecting “Amplifiers and Linear”); dynamically constructing an Active Path as a

sequence of active links as items are selected (e.g., the ’301 Accused Instrumentalities

dynamically construct an active path (e.g., “Amplifiers and Linear—Comparators”) as a

sequence of active links as items are selected (e.g., as “Amplifiers and Linear” and

“Comparators” are selected)), with one said active link corresponding to each of the items

selected, said active links providing direct access to one of a function, corresponding level and

item without the need to navigate from the root of the hierarchical information structure (e.g., the

’301 Accused Instrumentalities’ active path “Amplifiers and Linear—Comparators” corresponds

to each of the items sequentially selected, including “Amplifiers and Linear” and

“Comparators”).


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       64.     Also, each said active link in the ’301 Accused Instrumentalities enables the user

to directly browse all items on any given level of the hierarchical information structure including

all hierarchically subordinate items without affecting the Active Path (e.g., the ’301 Accused

Instrumentalities enable the user to directly browse all items under “Amplifiers and Linear” such

as “Operational Amplifiers,” “Instrumentation Amplifiers,” “Current Sense Amplifiers,”

“Comparators,” “Programmable Gain Amplifiers,” and “DC Power Current Monitors” without

affecting the active path “Amplifiers and Linear—Comparators”) as shown below:




See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       65.     Discovery is expected to uncover the full extent of Defendant’s infringement of

the ’301 Patent beyond the ’301 Accused Instrumentalities already identified through public

information.




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          66.   Upon information and belief, Defendant has induced and continues to induce

others to infringe at least Claims 1-5 and 9 of the ’301 Patent under 35 U.S.C. § 271(b) by,

among other things, and with specific intent or willful blindness, actively aiding and abetting

others to infringe, including but not limited to Defendant’s new, current, and prospective users,

partners, customers and other third parties, whose use of the ’301 Accused Instrumentalities

constitutes direct infringement of at least Claims 1-5 and 9 of the ’301 Patent.

          67.   In particular, Defendant’s actions that aid and abet others such as its new, current,

and prospective users, partners, customers and third parties to infringe include advertising the

’301 Accused Instrumentality. On information and belief, Defendant has engaged in such

actions with specific intent to cause infringement or with willful blindness to the resulting

infringement because Defendant has had actual knowledge of the ’301 Patent and knowledge

that its acts were inducing infringement of the ’301 Patent since at least the date Defendant

received notice based on the filing of this Complaint that such activities infringed the ’301

Patent.

          68.   Defendant’s acts of inducement include, without limitation: providing the ’301

Accused Instrumentalities to its new, current, and prospective users, partners, and customers, and

other third parties and intending them to use the ’301 Accused Instrumentalities that enable

and/or make use of content published therein; encouraging customers and other third parties to

communicate directly with Defendant’s representatives about the ’301 Accused Instrumentalities

and content published therein for purposes of technical assistance as well as sales and marketing

(see, e.g., https://microchipsupport.force.com/s/ (providing consumers with a technical support

portal through which technical issues and concerns regarding the ’301 Accused Instrumentalities

can be addressed); see, e.g., https://microchipsupport.force.com/s/support-




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resources?tabName=Contact (providing contact information for technical support regarding the

’301 Accused Instrumentalities); see also id. (providing a community platform for discussing the

’301 Accused Instrumentalities or content published therein); see also

https://www.facebook.com/microchiptechnology/ (encouraging customers and other third parties

to use the ’301 Accused Instrumentalities to access content published therein (e.g., providing an

URL (https://page.microchip.com/ew-

Timing.html?utm_campaign=EmbeddedWorld2020&utm_source=facebook.com&utm_medium

=Post&utm_content=SharePoint43895.5417&fbclid=IwAR2TVwazReb1Ul3TgRAgkut-

aZY3eE_ikA0HfXVGI6vjYdziBuNwa5BtxOo) to a “Timing and System Solutions” webpage

that can be accessed using the ’301 Accused Instrumentalities)); see also

https://www.microchip.com/about-us/company-information/acquisitions (recommending

investors and other third parties use the ’301 Accused Instrumentalities to access financial

information relating to Microchip’s cooperate operations and acquisitions); see also

https://www.microchip.com/documentlisting/financial-press-releases (for example,

https://www.microchip.com/investor/Pressrelease/MCHP%20Announces%20Financial%20Resul

ts%20for%20Q3FY20.020420.pdf providing an URL (www.microchip.com) to the ’301

Accused Instrumentalities); see also

https://twitter.com/MicrochipTech?ref_src=twsrc%5Egoogle%7Ctwcamp%5Eserp%7Ctwgr%5E

author, https://www.facebook.com/microchiptechnology/ and

https://www.linkedin.com/posts/microchip-technology_from-simple-buffers-and-clock-

generators-activity-6641422443871383552-bbea (Defendant’s social media accounts promoting

the use of ’301 Accused Instrumentalities through which various media content can be accessed);




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providing press releases encouraging customers and other third parties to use the ’301 Accused

Instrumentalities to access content (for example, providing an URL (www.microchip.com) to the

“Microchip” main webpage that can be accessed using the ’301 Accused Instrumentalities); and

https://www.microchip.com/blog (providing blogs encouraging customers and other third parties

to use the ’301 Accused Instrumentalities to access content (for example, providing an URL

(https://www.microchip.com/wwwproducts/en/MCP6C02) to a “MCP6C02” webpage that can

be accessed using the ’301 Accused Instrumentalities))).

       69.     Defendant performed acts of inducement despite its actual knowledge since at

least the filing date of this Complaint and its knowledge that the specific actions it actively

induced and continues to actively induce on the part of its users, partners, and customers, and

other third parties constitute infringement of the ’301 Patent. At the very least, because

Defendant has been, and remains, on notice of the ’301 Patent and the accused infringement, it

has been, and remains, willfully blind regarding the infringement that it has induced and

continues to induce.

       70.     On information and belief, Defendant has contributed to, and continues to

contribute to, infringement of at least Claims 1-5 and 9 of the ’301 Patent pursuant to 35 U.S.C.

§ 271(c) by providing the ’301 Accused Instrumentalities that have contributed, and continue to

contribute, to the direct infringement of new, current, and prospective users, partners, customers

and other third parties with the knowledge (at least as of the filing date of this Complaint) that

the ’301 Accused Instrumentalities are especially made or adapted for use in an infringement of

the ’301 Patent. For example, by providing the web pages, software, and computer equipment

identified above, Defendant contributes to the direct infringement of users of said web pages,

software, and computer equipment. The ’301 Accused Instrumentalities are material




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components or apparatuses for use in practicing the ’301 Patent and are not staple articles of

commerce suitable for substantial non-infringing use.

        71.     For example, the ’301 Accused Instrumentalities provide a graphical user menu

system through which a user can navigate within a multi-level hierarchical information structure

according to the claimed invention(s). Defendant supplied, and continues to supply, the ’301

Accused Instrumentalities, or components or apparatuses thereof, with the knowledge of the ’301

Patent and with the knowledge that these components or apparatuses constitute critical and

material parts of the claimed inventions of the ’301 Patent. Moreover, Defendant knows at least

by virtue of its knowledge of its own products and services and the ’301 Patent that the ’301

Accused Instrumentalities are especially made and/or especially adapted for use as claimed in the

’301 Patent and there is no substantial non-infringing use of these components or apparatuses.

        72.     Defendant has directly and indirectly infringed the ’301 Patent and is thus liable

for infringement of the ’301 Patent pursuant to 35 U.S.C. § 271.

        73.     Plaintiffs have suffered, and continue to suffer, damages as a result of

Defendant’s infringement of the ’301 Patent.

        74.     Defendant has continued to infringe the ’301 Patent since at least the filing date of

this Complaint, despite being on notice of the ’301 Patent and its infringement. Defendant has

therefore infringed the ’301 Patent knowingly, willfully, deliberately, and in disregard of

Plaintiffs’ patent rights since at least the filing date of this Complaint, at least by infringing with

actual knowledge of its direct and indirect infringement or while remaining willfully blind to the

fact of its direct and indirect infringement. As a result of at least this conduct, Plaintiffs are

entitled to enhanced damages under 35 U.S.C. § 284 and to attorneys’ fees and costs under 35

U.S.C. § 285.




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          75.    Plaintiffs reserve the right to modify its infringement theories as discovery

progresses in this case. Plaintiffs shall not be estopped for purposes of its infringement

contentions or its claim constructions by the foregoing discussions on how the ’301 Accused

Instrumentalities infringe the ’301 Patent. Plaintiffs intend only that the foregoing discussions

satisfy the notice requirements of Rule 8(a)(2) of the Federal Rule of Civil Procedure, and that

they should not be construed as Plaintiffs’ preliminary or final infringement contentions or

preliminary or final claim construction positions.

                COUNT III - INFRINGEMENT OF U.S. PATENT NO. 7,640,517

          76.    Plaintiffs incorporate and reallege the preceding paragraphs as if fully set forth

herein.

          77.    The ’517 Patent is directed to systems and methods for navigating within a

hierarchical menu structure, as described and claimed in the ’517 Patent.

          78.    Defendant has and continues to directly infringe at least Claims 1-6 of the ’517

Patent, in this judicial District and elsewhere in the United States, pursuant to 35 U.S.C. §

271(a), literally or under the doctrine of equivalents, by, among other things, by making, using,

selling, offering to sell, and/or importing in or into the United States, without authority: (i) web

pages and content to be interactively presented in browsers, including, without limitation, the

web pages and content accessible via https://www.microchip.com/ and maintained on servers

located in and/or accessible from the United States under the control of Defendant; (ii) software,

including, without limitation, software that allows content to be interactively presented in and/or

served to browsers; (iii) computer equipment, including, without limitation, computer equipment

that stores, serves, and/or runs any of the foregoing or that allows navigating within a




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hierarchical menu structure, where each level in the menu contains plural items (hereinafter, the

“’517 Accused Instrumentalities”) as shown below:




See, e.g., https://www.microchip.com/design-centers/automotive-solutions/automotive-

applications (last visited Feb. 10, 2020) (annotated).

       79.     By way of example, the ’517 Accused Instrumentalities provide a method for

navigating within a hierarchical menu structure where each level in the menu contains plural

items as shown below:




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See, e.g., https://www.microchip.com/design-centers/automotive-solutions/automotive-

applications (last visited Feb. 10, 2020) (annotated).

         80.   More specifically, the ’517 Accused Instrumentalities provide a graphical user

menu system displaying the items of a given level and enabling selection thereof (e.g., “What we

do” displays and enables selection of items of a given level, such as “Amplifiers and Linear” and

items within that same level), wherein access of said given level requires sequential access of

each of the levels preceding said given level in the hierarchy (e.g., to access “Amplifiers and

Linear,” “Products” is accessed first; similarly, to access “Comparators” “Amplifiers and Linear”

is accessed first); and constructing an Active Path as a sequence of hierarchical active links as

items are selected using the graphical user menu system (e.g., the ’517 Accused Instrumentalities

construct an active path (e.g., “Amplifiers and Linear—Comparators”) as a sequence of

hierarchical active links as items are selected (e.g., as “Amplifiers and Linear” and

“Comparators” are selected)), with one said active link corresponding to each of the items

selected, each said active link providing direct access to the hierarchical level from which the

corresponding item was selected without using said graphical user menu system (e.g., the ’517

Accused Instrumentalities’ active path “Amplifiers and Linear—Comparators” corresponds to

each of the items selected, including “Amplifiers and Linear” and “Comparators,” each link

providing direct access to the hierarchical level from which “Amplifiers and Linear” or

“Comparators” was selected without using Defendant’s graphical user menu system) as shown

below:




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See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       81.     Also, the ’517 Accused Instrumentalities display the Active Path as an alternative

to the graphical user menu system for navigating the menu structure after the user has finished

selecting items using the graphical user system such that the Active Path is displayed (e.g., the

’517 Accused Instrumentalities display the Active Path as an alternative to Defendant’s graphical

user menu system for navigating the menu structure after the user has finished selecting items,

such as “Amplifiers and Linear” and “Comparators,” using Microchip’s graphical user menu

system such that Microchip’s Active Path is displayed) as shown below:




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See, e.g., https://www.microchip.com/design-centers/automotive-solutions/automotive-

applications (last visited Feb. 10, 2020).

       82.     On information and belief, in the ’517 Accused Instrumentalities, rolling over a

given active link with the pointer of a pointing device triggers the display of menu items on the

hierarchical level associated with said given active link without disturbing the displayed Active

Path (e.g., the ’517 Accused Instrumentalities allow rolling over the link “Amplifiers and Linear”

with a mouse to trigger the display of menu items on the hierarchical level associated with

“Amplifiers and Linear” such as “Operational Amplifiers,” “Instrumentation Amplifiers,”

“Current Sense Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and “DC Power

Current Monitors” without disturbing the displayed Active Path “What we do-Digital

Innovation”) as shown below:




See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).


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         83.   On information and belief, the ’517 Accused Instrumentalities provide pre-

defined short-cuts enabling direct access to a given menu item (e.g., the ’517 Accused

Instrumentalities provide pre-defined shortcuts, such as “Amplifiers and Linear” or

“Comparators” in the collapsing menu enabling direct access to a given menu item); and

automatically constructing the Active Path when a pre-defined short-cut is executed, with one

said active link corresponding to each of the menu items necessary to access said given menu

item using said graphical user menu system (e.g., the Active Path is automatically constructed

when “Amplifiers and Linear” or “Comparators” is executed, with each active link “Amplifiers

and Linear” or “Comparators” corresponding to each of the menu items necessary to access the

given menu item using the graphical user menu system).

         84.   On information and belief, in the ’517 Accused Instrumentalities, a given active

link is browsed by rolling over the given active link with a pointing device to trigger the display

of sibling menu items on the level associated with said given active link (e.g., the ’517 Accused

Instrumentalities allow rolling over the link “Digital Innovation” with a mouse to trigger the

display of sibling items on the level associated with “Amplifiers and Linear” such as

“Operational Amplifiers,” “Instrumentation Amplifiers,” “Current Sense Amplifiers,”

“Comparators,” “Programmable Gain Amplifiers,” and “DC Power Current Monitors”) as shown

below:




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See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       85.    On information and belief, in the ’517 Accused Instrumentalities, browsing a

given active menu item triggers the display of subordinate menu items (e.g., browsing

“Automotive Products” triggers the display of subordinate menu items, such as

“Microcontrollers,” “Analog Products,” “Connectivity,” “Automotive Touch,” “Car Access,”

“memory Products,” “High Temperature Products,” “Timing Solutions,” and “Automotive

Security”) as shown below:




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See, e.g., https://www.microchip.com/design-centers/automotive-solutions (last visited Feb. 10,

2020).

         86.   On information and belief, in the ’517 Accused Instrumentalities, selecting a

given active link triggers the execution of a function associated with said given active link (e.g.,

selecting a given active link such as “Amplifiers and Linear” triggers the execution of a function,

such as displaying sibling menus (e.g., “Operational Amplifiers,” “Instrumentation Amplifiers,”

“Current Sense Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and “DC Power

Current Monitors”) or directing user to certain content).

         87.   On information and belief, in the ’517 Accused Instrumentalities, selecting a

given active link triggers display of information associated with said given active link (e.g., the

’517 Accused Instrumentalities allow selecting the link “Amplifiers and Linear” to trigger




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display of information (e.g., displaying “Operational Amplifiers,” “Instrumentation Amplifiers,”

“Current Sense Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and “DC Power

Current Monitors”) associated with the link “Amplifiers and Linear”).

          88.   Discovery is expected to uncover the full extent of Defendant’s infringement of

the ’517 Patent beyond the ’517 Accused Instrumentalities already identified through public

information.

          89.   Upon information and belief, Defendant has induced and continues to induce

others to infringe at least Claims 1-6 of the ’517 Patent under 35 U.S.C. § 271(b) by, among

other things, and with specific intent or willful blindness, actively aiding and abetting others to

infringe, including but not limited to Defendant’s new, current, and prospective users, partners,

customers and other third parties, whose use of the ’517 Accused Instrumentalities constitutes

direct infringement of at least Claims 1-6 of the ’517 Patent.

          90.   In particular, Defendant’s actions that aid and abet others such as its new, current,

and prospective users, partners, customers and third parties to infringe include advertising the

’517 Accused Instrumentality. On information and belief, Defendant has engaged in such

actions with specific intent to cause infringement or with willful blindness to the resulting

infringement because Defendant has had actual knowledge of the ’517 Patent and knowledge

that its acts were inducing infringement of the ’517 Patent since at least the date Defendant

received notice based on the filing of this Complaint that such activities infringed the ’517

Patent.

          91.   Defendant’s acts of inducement include, without limitation: providing the ’517

Accused Instrumentalities to its new, current, and prospective users, partners, and customers, and

other third parties and intending them to use the ’517 Accused Instrumentalities that enable




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and/or make use of content published therein; encouraging customers and other third parties to

communicate directly with Defendant’s representatives about the ’517 Accused Instrumentalities

and content published therein for purposes of technical assistance as well as sales and marketing

(see, e.g., https://microchipsupport.force.com/s/ (providing consumers with a technical support

portal through which technical issues and concerns regarding the ’517 Accused Instrumentalities

can be addressed); see, e.g., https://microchipsupport.force.com/s/support-

resources?tabName=Contact (providing contact information for technical support regarding the

’517 Accused Instrumentalities); see also id. (providing a community platform for discussing the

’517 Accused Instrumentalities or content published therein); see also

https://www.facebook.com/microchiptechnology/ (encouraging customers and other third parties

to use the ’517 Accused Instrumentalities to access content published therein (e.g., providing an

URL (https://page.microchip.com/ew-

Timing.html?utm_campaign=EmbeddedWorld2020&utm_source=facebook.com&utm_medium

=Post&utm_content=SharePoint43895.5417&fbclid=IwAR2TVwazReb1Ul3TgRAgkut-

aZY3eE_ikA0HfXVGI6vjYdziBuNwa5BtxOo) to a “Timing and System Solutions” webpage

that can be accessed using the ’517 Accused Instrumentalities)); see also

https://www.microchip.com/about-us/company-information/acquisitions (recommending

investors and other third parties use the ’517 Accused Instrumentalities to access financial

information relating to Microchip’s cooperate operations and acquisitions); see also

https://www.microchip.com/documentlisting/financial-press-releases (for example,

https://www.microchip.com/investor/Pressrelease/MCHP%20Announces%20Financial%20Resul

ts%20for%20Q3FY20.020420.pdf providing an URL (www.microchip.com) to the ’517

Accused Instrumentalities); see also




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https://twitter.com/MicrochipTech?ref_src=twsrc%5Egoogle%7Ctwcamp%5Eserp%7Ctwgr%5E

author, https://www.facebook.com/microchiptechnology/ and

https://www.linkedin.com/posts/microchip-technology_from-simple-buffers-and-clock-

generators-activity-6641422443871383552-bbea (Defendant’s social media accounts promoting

the use of ’517 Accused Instrumentalities through which various media content can be accessed);

providing press releases encouraging customers and other third parties to use the ’517 Accused

Instrumentalities to access content (for example, providing an URL (www.microchip.com) to the

“Microchip” main webpage that can be accessed using the ’517 Accused Instrumentalities); and

https://www.microchip.com/blog (providing blogs encouraging customers and other third parties

to use the ’517 Accused Instrumentalities to access content (for example, providing an URL

(https://www.microchip.com/wwwproducts/en/MCP6C02) to a “MCP6C02” webpage that can

be accessed using the ’517 Accused Instrumentalities))).

       92.     Defendant performed acts of inducement despite its actual knowledge since at

least the filing date of this Complaint and its knowledge that the specific actions it actively

induced and continues to actively induce on the part of its users, partners, and customers, and

other third parties constitute infringement of the ’517 Patent. At the very least, because

Defendant has been, and remains, on notice of the ’517 Patent and the accused infringement, it

has been, and remains, willfully blind regarding the infringement that it has induced and

continues to induce.

       93.     On information and belief, Defendant has contributed to, and continues to

contribute to, infringement of at least Claims 1-6 of the ’517 Patent pursuant to 35 U.S.C. §

271(c) by providing the ’517 Accused Instrumentalities that have contributed, and continue to

contribute, to the direct infringement of new, current, and prospective users, partners, customers




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and other third parties with the knowledge (at least as of the filing date of this Complaint) that

the ’517 Accused Instrumentalities are especially made or adapted for use in an infringement of

the ’517 Patent. For example, by providing the web pages, software, and computer equipment

identified above, Defendant contributes to the direct infringement of users of said web pages,

software, and computer equipment. The ’517 Accused Instrumentalities are material

components or apparatuses for use in practicing the ’517 Patent and are not staple articles of

commerce suitable for substantial non-infringing use.

       94.     For example, the ’517 Accused Instrumentalities provide a graphical user menu

system through which a user can navigate within a multi-level hierarchical information structure

according to the claimed invention(s). Defendant supplied, and continues to supply, the ’517

Accused Instrumentalities, or components or apparatuses thereof, with the knowledge of the ’517

Patent and with the knowledge that these components or apparatuses constitute critical and

material parts of the claimed inventions of the ’517 Patent. Moreover, Defendant knows at least

by virtue of its knowledge of its own products and services and the ’517 Patent that the ’517

Accused Instrumentalities are especially made and/or especially adapted for use as claimed in the

’517 Patent and there is no substantial non-infringing use of the ’517 Accused Instrumentalities,

or components or apparatuses thereof.

       95.     Defendant has directly and indirectly infringed the ’517 Patent and is thus liable

for infringement of the ’517 Patent pursuant to 35 U.S.C. § 271.

       96.     Plaintiffs have suffered, and continue to suffer, damages as a result of

Defendant’s infringement of the ’517 Patent.

       97.     Defendant has continued to infringe the ’517 Patent since at least the filing date of

this Complaint, despite being on notice of the ’517 Patent and its infringement. Defendant has




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therefore infringed the ’517 Patent knowingly, willfully, deliberately, and in disregard of

Plaintiffs’ patent rights since at least the filing date of this Complaint, at least by infringing with

actual knowledge of its direct and indirect infringement or while remaining willfully blind to the

fact of its direct and indirect infringement. As a result of at least this conduct, Plaintiffs are

entitled to enhanced damages under 35 U.S.C. § 284 and to attorneys’ fees and costs under 35

U.S.C. § 285.

          98.    Plaintiffs reserve the right to modify its infringement theories as discovery

progresses in this case. Plaintiffs shall not be estopped for purposes of its infringement

contentions or its claim constructions by the foregoing discussions on how the ’517 Accused

Instrumentalities infringe the ’517 Patent. Plaintiffs intend only that the foregoing discussions

satisfy the notice requirements of Rule 8(a)(2) of the Federal Rule of Civil Procedure, and that

they should not be construed as Plaintiffs’ preliminary or final infringement contentions or

preliminary or final claim construction positions.

                 COUNT IV - INFRINGEMENT OF U.S. PATENT NO. 7,725,836

          99.    Plaintiffs incorporate and reallege the preceding paragraphs as if fully set forth

herein.

          100.   The ’836 Patent is directed to systems and methods for navigating within a multi-

level hierarchical information structure, as described and claimed in the ’836 Patent.

          101.   Defendant has and continues to directly infringe at least Claims 1-5 and 7-8 of the

’836 Patent, in this judicial District and elsewhere in the United States, pursuant to 35 U.S.C. §

271(a), literally or under the doctrine of equivalents, by, among other things, by making, using,

selling, offering to sell, and/or importing in or into the United States, without authority: (i) web

pages and content to be interactively presented in browsers, including, without limitation, the




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web pages and content accessible via https://www.microchip.com/ and maintained on servers

located in and/or accessible from the United States under the control of Defendant; (ii) software,

including, without limitation, software that allows content to be interactively presented in and/or

served to browsers; (iii) computer equipment, including, without limitation, computer equipment

that stores, serves, and/or runs any of the foregoing or that allows navigating within a multi-level

hierarchical information structure where each level in the menu contains plural items, each said

item being at least one of a function, a pointer to a location, and a pointer to another level

(hereinafter, the “’836 Accused Instrumentalities”) as shown below:




See, e.g., https://www.microchip.com/design-centers/automotive-solutions/automotive-

applications (last visited Feb. 10, 2020).

       102.    By way of example, the ’836 Accused Instrumentalities provide a method for

navigating within a multi-level hierarchical information structure where each level in the menu

contains plural items as shown below:




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See, e.g., https://www.microchip.com/design-centers/automotive-solutions/automotive-

applications (last visited Feb. 10, 2020) (annotated).

       103.    More specifically, the ’836 Accused Instrumentalities provide a graphical user

menu system displaying the items of a given level of the hierarchical information structure and

enabling selection thereof (e.g., “Products” displays and enables selection of items of a given

level, such as “Amplifiers and Linear” and items within that same level); and constructing an

Active Path as a sequence of active links as the user navigates the information structure using the

graphical user menu system (e.g., the ’836 Accused Instrumentalities construct an active path

(e.g., “Amplifiers and Linear—Comparators”) as a sequence of active links as the user navigates

the information structure using the graphical user menu system (e.g., as “Amplifiers and Linear”

and “Comparators” are selected)), with one said active link corresponding to each of the

hierarchical levels accessed by the user, said active links providing direct access to one of a

function, corresponding level and menu item without the need to navigate using said graphical

user menu system (e.g., the ’836 Accused Instrumentalities’ active path “Amplifiers and

Linear—Comparators” corresponds to each of the hierarchical levels accessed by the user,




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including “Amplifiers and Linear” and “Comparators,” each link providing direct access to one

of a function, corresponding level and menu item without the need to navigate using said

graphical user menu system) as shown below:




See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

         104.   Also, in the ’836 Accused Instrumentalities, a given said active link enables the

user to browse items of the hierarchical information structure starting from the level

corresponding with the given active link and items on hierarchically subordinate levels without

affecting the Active Path (e.g., the ’836 Accused Instrumentalities enable the user to browse

items of the hierarchical information structure starting from “Amplifiers and Linear” and items

on subordinate levels such as “Operational Amplifiers,” “Instrumentation Amplifiers,” “Current

Sense Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and “DC Power Current

Monitors” without affecting the active path “Amplifiers and Linear—Comparators”) as shown

below:




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See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       105.   On information and belief, the ’836 Accused Instrumentalities provide pre-

defined short-cuts enabling direct access to a given menu item (e.g., the ’836 Accused

Instrumentalities provide pre-defined shortcuts, such as “Amplifiers and Linear” or

“Comparators” in the collapsing menu enabling direct access to a given menu item); and

dynamically constructing the Active Path when a pre-defined short-cut is executed, with one said

active link corresponding to each of the menu items necessary to access said given menu item

using said graphical user menu system (e.g., the Active Path is dynamically constructed when

“Amplifiers and Linear” or “Comparators” is executed, with each active link “Amplifiers and

Linear” or “Comparators” corresponding to each of the menu items necessary to access said

given menu item using said graphical user menu system).




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         106.     On information and belief, in the ’836 Accused Instrumentalities, rolling over a

selected active link triggers the display of sibling menu items on the hierarchically subordinate

levels associated with said selected active link (e.g., the ’301 Accused Instrumentalities allow

rolling over the link “Amplifiers and Linear” to trigger the display of sibling menu items on the

hierarchically subordinate levels associated with the selected active link “Amplifiers and Linear”

such as “Operational Amplifiers,” “Instrumentation Amplifiers,” “Current Sense Amplifiers,”

“Comparators,” “Programmable Gain Amplifiers,” and “DC Power Current Monitors”) as shown

below:




See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

         107.   On information and belief, the ’836 Accused Instrumentalities allow selecting a

given active link triggers the execution of a function associated with said given active link (e.g.,

selecting a given active link such as “Amplifiers and Linear” triggers the execution of a function,


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such as displaying sibling menus (e.g., “Operational Amplifiers,” “Instrumentation Amplifiers,”

“Current Sense Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and “DC Power

Current Monitors”) or directing user to certain content).

       108.    On information and belief, the ’836 Accused Instrumentalities allow selecting a

given active link to trigger display of information associated with said given active link (e.g., the

’836 Accused Instrumentalities allow selecting the link “Amplifiers and Linear” to trigger

display of information (e.g., displaying Operational Amplifiers,” “Instrumentation Amplifiers,”

“Current Sense Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and “DC Power

Current Monitors”) associated with the link “Amplifiers and Linear”).

       109.    On information and belief, the multi-level hierarchical information structure is a

website (e.g., https://www.microchip.com/).

       110.    On information and belief, the ’836 Accused Instrumentalities provides a method

for navigating websites including a plurality of hierarchically organized web pages, including

providing a means for navigating the multi-level hierarchical website (e.g., the ’836 Accused

Instrumentalities provides a graphical user menu system for navigating a multi-level hierarchical

website); and dynamically constructing an Active Path as a sequence of active links as the user

navigates the multi-level hierarchical website (e.g., the ’836 Accused Instrumentalities

dynamically construct an active path (e.g., “Amplifiers and Linear—Comparators”) as a

sequence of active links as the user navigates the multi-level hierarchical website (e.g., as

“Amplifiers and Linear” and “Comparators” are selected)), wherein each said active link

corresponds to a level in the hierarchical structure, wherein a user may directly access any given

level of the hierarchical structure by selecting a given said active link (e.g., the ’836 Accused

Instrumentalities dynamically construct an active path as a sequence of active links as the user




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navigates the multi-level hierarchical website, such that the active path “Amplifiers and Linear—

Comparators” corresponds to each of the items selected, including “Amplifiers and Linear” and

“Comparators”, with each link corresponding to a level in the hierarchical structure, where a user

may directly access any level of the hierarchical structure by selecting “Amplifiers and Linear”

and “Comparators”) as shown below:




See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       111.    Also, each active link provides the user the ability to directly browse items on any

given level of the hierarchical menu structure and hierarchically subordinate items without

affecting the Active Path (e.g., the ’836 Accused Instrumentalities enable the user to browse

items of the hierarchical information structure starting from “Amplifiers and Linear” and items

on subordinate levels such as “Operational Amplifiers,” “Instrumentation Amplifiers,” “Current

Sense Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and “DC Power Current


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Monitors” without affecting the active path “Amplifiers and Linear—Comparators”) as shown

below:




See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

         112.   Discovery is expected to uncover the full extent of Defendant’s infringement of

the ’836 Patent beyond the ’836 Accused Instrumentalities already identified through public

information.

         113.   Upon information and belief, Defendant has induced and continues to induce

others to infringe at least Claims 1-5 and 7-8 of the ’836 Patent under 35 U.S.C. § 271(b) by,

among other things, and with specific intent or willful blindness, actively aiding and abetting

others to infringe, including but not limited to Defendant’s new, current, and prospective users,

partners, customers and other third parties, whose use of the ’836 Accused Instrumentalities

constitutes direct infringement of at least Claims 1-5 and 7-8 of the ’836 Patent.


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          114.   In particular, Defendant’s actions that aid and abet others such as its new, current,

and prospective users, partners, customers and third parties to infringe include advertising the

’836 Accused Instrumentality. On information and belief, Defendant has engaged in such

actions with specific intent to cause infringement or with willful blindness to the resulting

infringement because Defendant has had actual knowledge of the ’836 Patent and knowledge

that its acts were inducing infringement of the ’836 Patent since at least the date Defendant

received notice based on the filing of this Complaint that such activities infringed the ’836

Patent.

          115.   Defendant’s acts of inducement include, without limitation: providing the ’836

Accused Instrumentalities to its new, current, and prospective users, partners, and customers, and

other third parties and intending them to use the ’836 Accused Instrumentalities that enable

and/or make use of content published therein; encouraging customers and other third parties to

communicate directly with Defendant’s representatives about the ’836 Accused Instrumentalities

and content published therein for purposes of technical assistance as well as sales and marketing

(see, e.g., https://microchipsupport.force.com/s/ (providing consumers with a technical support

portal through which technical issues and concerns regarding the ’836 Accused Instrumentalities

can be addressed); see, e.g., https://microchipsupport.force.com/s/support-

resources?tabName=Contact (providing contact information for technical support regarding the

’836 Accused Instrumentalities); see also id. (providing a community platform for discussing the

’836 Accused Instrumentalities or content published therein); see also

https://www.facebook.com/microchiptechnology/ (encouraging customers and other third parties

to use the ’836 Accused Instrumentalities to access content published therein (e.g., providing an

URL (https://page.microchip.com/ew-




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Timing.html?utm_campaign=EmbeddedWorld2020&utm_source=facebook.com&utm_medium

=Post&utm_content=SharePoint43895.5417&fbclid=IwAR2TVwazReb1Ul3TgRAgkut-

aZY3eE_ikA0HfXVGI6vjYdziBuNwa5BtxOo) to a “Timing and System Solutions” webpage

that can be accessed using the ’836 Accused Instrumentalities)); see also

https://www.microchip.com/about-us/company-information/acquisitions (recommending

investors and other third parties use the ’836 Accused Instrumentalities to access financial

information relating to Microchip’s cooperate operations and acquisitions); see also

https://www.microchip.com/documentlisting/financial-press-releases (for example,

https://www.microchip.com/investor/Pressrelease/MCHP%20Announces%20Financial%20Resul

ts%20for%20Q3FY20.020420.pdf providing an URL (www.microchip.com) to the ’836

Accused Instrumentalities); see also

https://twitter.com/MicrochipTech?ref_src=twsrc%5Egoogle%7Ctwcamp%5Eserp%7Ctwgr%5E

author, https://www.facebook.com/microchiptechnology/ and

https://www.linkedin.com/posts/microchip-technology_from-simple-buffers-and-clock-

generators-activity-6641422443871383552-bbea (Defendant’s social media accounts promoting

the use of ’836 Accused Instrumentalities through which various media content can be accessed);

providing press releases encouraging customers and other third parties to use the ’836 Accused

Instrumentalities to access content (for example, providing an URL (www.microchip.com) to the

“Microchip” main webpage that can be accessed using the ’836 Accused Instrumentalities); and

https://www.microchip.com/blog (providing blogs encouraging customers and other third parties

to use the ’836 Accused Instrumentalities to access content (for example, providing an URL

(https://www.microchip.com/wwwproducts/en/MCP6C02) to a “MCP6C02” webpage that can

be accessed using the ’836 Accused Instrumentalities))).




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       116.    Defendant performed acts of inducement despite its actual knowledge since at

least the filing date of this Complaint and its knowledge that the specific actions it actively

induced and continues to actively induce on the part of its users, partners, and customers, and

other third parties constitute infringement of the ’836 Patent. At the very least, because

Defendant has been, and remains, on notice of the ’836 Patent and the accused infringement, it

has been, and remains, willfully blind regarding the infringement that it has induced and

continues to induce.

       117.    On information and belief, Defendant has contributed to, and continues to

contribute to, infringement of at least Claims 1-5 and 7-8 of the ’836 Patent pursuant to 35

U.S.C. § 271(c) by providing the ’836 Accused Instrumentalities that have contributed, and

continue to contribute, to the direct infringement of new, current, and prospective users, partners,

customers and other third parties with the knowledge (at least as of the filing date of this

Complaint) that the ’836 Accused Instrumentalities are especially made or adapted for use in an

infringement of the ’836 Patent. For example, by providing the web pages, software, and

computer equipment identified above, Defendant contributes to the direct infringement of users

of said web pages, software, and computer equipment. The ’836 Accused Instrumentalities are

material components or apparatuses for use in practicing the ’836 Patent and are not staple

articles of commerce suitable for substantial non-infringing use.

       118.    For example, the ’836 Accused Instrumentalities provide a graphical user menu

system through which a user can navigate within a multi-level hierarchical information structure

according to the claimed invention(s). Defendant supplied, and continues to supply, the ’836

Accused Instrumentalities, or components or apparatuses thereof, with the knowledge of the ’836

Patent and with the knowledge that these components or apparatuses constitute critical and




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material parts of the claimed inventions of the ’836 Patent. Moreover, Defendant knows at least

by virtue of its knowledge of its own products and services and the ’836 Patent that the ’836

Accused Instrumentalities are especially made and/or especially adapted for use as claimed in the

’836 Patent and there is no substantial non-infringing use of these components or apparatuses.

        119.    Defendant has directly and indirectly infringed the ’836 Patent and is thus liable

for infringement of the ’836 Patent pursuant to 35 U.S.C. § 271.

        120.    Plaintiffs have suffered, and continue to suffer, damages as a result of

Defendant’s infringement of the ’836 Patent.

        121.    Defendant has continued to infringe the ’836 Patent since at least the filing date of

this Complaint, despite being on notice of the ’836 Patent and its infringement. Defendant has

therefore infringed the ’836 Patent knowingly, willfully, deliberately, and in disregard of

Plaintiffs’ patent rights since at least the filing date of this Complaint, at least by infringing with

actual knowledge of its direct and indirect infringement or while remaining willfully blind to the

fact of its direct and indirect infringement. As a result of at least this conduct, Plaintiffs are

entitled to enhanced damages under 35 U.S.C. § 284 and to attorneys’ fees and costs under 35

U.S.C. § 285.

        122.    Plaintiffs reserve the right to modify its infringement theories as discovery

progresses in this case. Plaintiffs shall not be estopped for purposes of its infringement

contentions or its claim constructions by the foregoing discussions on how the ’836 Accused

Instrumentalities infringe the ’836 Patent. Plaintiffs intend only that the foregoing discussions

satisfy the notice requirements of Rule 8(a)(2) of the Federal Rule of Civil Procedure, and that

they should not be construed as Plaintiffs’ preliminary or final infringement contentions or

preliminary or final claim construction positions.




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                 COUNT V - INFRINGEMENT OF U.S. PATENT NO. 8,352,880

          123.   Plaintiffs incorporate and reallege the preceding paragraphs as if fully set forth

herein.

          124.   The ’880 Patent is directed to systems and methods for navigating an information

structure, as described and claimed in the ’880 Patent.

          125.   The ’880 Patent is directed to systems and methods for navigating within a

hierarchical menu structure where each level in the menu contains plural items, as described and

claimed in the ’880 Patent.

          126.   Defendant has and continues to directly infringe at least Claims 1, 3-10, 12-20

and 22 of the ’880 Patent, in this judicial District and elsewhere in the United States, pursuant to

35 U.S.C. § 271(a), literally or under the doctrine of equivalents, by, among other things, by

making, using, selling, offering to sell, and/or importing in or into the United States, without

authority: (i) web pages and content to be interactively presented in browsers, including, without

limitation, the web pages and content accessible via https://www.microchip.com/ and maintained

on servers located in and/or accessible from the United States under the control of Defendant; (ii)

software, including, without limitation, software that allows content to be interactively presented

in and/or served to browsers; (iii) computer equipment, including, without limitation, computer

equipment that stores, serves, and/or runs any of the foregoing or that allows navigating an

information structure (hereinafter, the “’880 Accused Instrumentalities”) as shown below:




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See, e.g., https://www.microchip.com/design-centers/automotive-solutions/automotive-

applications (last visited Feb. 10, 2020) (annotated).

       127.    By way of example, the ’880 Accused Instrumentalities provide a method for

navigating an information structure as shown below:




See, e.g., https://www.microchip.com/design-centers/automotive-solutions/automotive-

applications (last visited Feb. 10, 2020) (annotated).




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       128.    More specifically, the ’880 Accused Instrumentalities provide a graphical menu

interface displaying the items of a given level of the information structure and enabling selection

thereof (e.g., “Products” displays and enables selection of items of a given level, such as

“Amplifiers and Linear” and items within that same level); and dynamically constructing an

Active Path as a sequence of active links as items are selected using the graphical user menu

system (e.g., the ’880 Accused Instrumentalities dynamically construct an active path (e.g.,

“Amplifiers and Linear—Comparators”) as a sequence of active links as items are selected (e.g.,

as “Amplifiers and Linear” and “Comparators” are selected)), with one said active link

corresponding to each of the items selected, said active links providing direct access to one of a

function, corresponding level and menu item without the need to navigate using said graphical

user menu system (e.g., the ’301 Accused Instrumentalities’ active path “Amplifiers and

Linear—Comparators” corresponds to each of the items selected, including “Amplifiers and

Linear” and “Comparators”) as shown below:




See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       129.    Also, the active links allow a user to access an item in the information structure

by selecting from the one or more items displayed by one of the active links on the active path

(e.g., the link “Amplifiers and Linear” in the active path “Amplifiers and Linear—Comparators”

allows a user to access an item in the information structure such as “Operational Amplifiers,”




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“Instrumentation Amplifiers,” “Current Sense Amplifiers,” “Comparators,” “Programmable Gain

Amplifiers,” and “DC Power Current Monitors”) as shown below:




See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       130.    On information and belief, in the ’880 Accused Instrumentalities, the one or more

active links allow the display of one or more items on a given level of the information structure

when a pointer is rolled over one of the active links (e.g., the active link “Amplifiers and Linear”

allows the display of items such as “Operational Amplifiers,” “Instrumentation Amplifiers,”

“Current Sense Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and “DC Power

Current Monitors” when a pointer is rolled over it) as shown below:




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See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       131.    On information and belief, in the ’880 Accused Instrumentalities, the one or more

active links allow the display of one or more items on a given level of the information structure

when one of the active links is selected (e.g., the active link “Amplifiers and Linear” allows the

display of items such as “Operational Amplifiers,” “Instrumentation Amplifiers,” “Current Sense

Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and “DC Power Current

Monitors” when it is selected) as shown below:




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See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       132.    On information and belief, in the ’880 Accused Instrumentalities, the one or more

active links allow the display of one or more items on a given level of the information structure

when a visual icon associated with one of the active links is selected (e.g., the active link

“Amplifiers and Linear” allows the display of items such as “Operational Amplifiers,”

“Instrumentation Amplifiers,” “Current Sense Amplifiers,” “Comparators,” “Programmable Gain

Amplifiers,” and “DC Power Current Monitors” when the “down arrow” icon is selected) as

shown below:




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See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020) (annotated).

       133.    On information and belief, in the ’880 Accused Instrumentalities, the active links

in the active path allow the display of one or more items on a given level of the information

structure without changing the active path (e.g., the active link “Amplifiers and Linear” in the

active path allows the display of “Operational Amplifiers,” “Instrumentation Amplifiers,”

“Current Sense Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and “DC Power

Current Monitors” without affecting the active path “Amplifiers and Linear—Comparators”) as

shown below:




See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       134.    On information and belief, in the ’880 Accused Instrumentalities, a user may

directly access one or more active links in the active path by selecting the active link (e.g., a user


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may directly access “Comparators” in the “Amplifiers and Linear—Comparators” active path by

selecting the “Comparators” link).

        135.    On information and belief, in the ’880 Accused Instrumentalities, the selection of

an active link causes the active path to truncate to the selected active link (e.g., the selection of

“Amplifiers and Linear” causes the active link “Automotive and Linear—Comparators” to

truncate to “Automotive and Linear”).

        136.    On information and belief, the ’880 Accused Instrumentalities further provide

pre-defined shortcuts that enable direct access to a given item in the information structure (e.g.,

the ’880 Accused Instrumentalities provide pre-defined shortcuts such as “Amplifiers and

Linear” or “Comparators” in the collapsing menu enabling direct access to a given menu item in

the information structure), wherein selection of a predefined shortcut dynamically constructs an

active path including one active link corresponding to each item necessary to navigate to the

given item in the information structure (e.g., the active path is dynamically constructed upon

selection of a predefined shortcut “Amplifiers and Linear” or “Comparators,” including one

active link “Amplifiers and Linear” or “Comparators” corresponding to each item necessary to

navigate to “Amplifiers and Linear” or “Comparators” in the information structure).

        137.    On information and belief, the ’880 Accused Instrumentalities include an

apparatus for navigating an information structure, the apparatus including a processor configured

to: provide a graphical menu interface displaying the items of a given level of the information

structure and enabling selection thereof (e.g., “Products” displays and enables selection of items

of a given level, such as “Amplifiers and Linear”); dynamically construct an active path as a

sequence of active links after an item of the information structure has been selected (e.g., the

’880 Accused Instrumentalities dynamically construct an active path (e.g., “Amplifiers and




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Linear—Comparators”) as a sequence of active links after an item of the information structure

has been selected (e.g., as “Amplifiers and Linear” and “Comparators” are selected)); upon

provisional selection of a given one of said active links, display one or more items on a given

level of the information structure associated with said provisionally selected active link without

affecting the active path (e.g., the ’880 Accused Instrumentalities displays one or more items

under “Amplifiers and Linear” such as “Operational Amplifiers,” “Instrumentation Amplifiers,”

“Current Sense Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and “DC Power

Current Monitors” without affecting the active path “Amplifiers and Linear—Comparators”) as

shown below:




See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       138.    On information and belief, in the ’880 Accused Instrumentalities allow a user to

access an item in the information structure by selecting the item from the one or more items


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displayed by one of the active links on the active path (e.g., each link in the active path

“Amplifiers and Linear—Comparators” allows a user to access an item in the information

structure such as “Operational Amplifiers,” “Instrumentation Amplifiers,” “Current Sense

Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and “DC Power Current

Monitors” by selecting from the “Amplifiers and Linear” link) as shown below:




See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       139.    On information and belief, in the ’880 Accused Instrumentalities, the one or more

active links allow the display of one or more items on a given level of the information structure

when a pointer is rolled over one of the active links (e.g., the active link “Amplifiers and Linear”

allows the display of items such as “Operational Amplifiers,” “Instrumentation Amplifiers,”

“Current Sense Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and “DC Power

Current Monitors” when a mouse is rolled over it) as shown below:


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See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       140.    On information and belief, in the ’880 Accused Instrumentalities, the one or more

active links allow the display of one or more items on a given level of the information structure

when one of the active links is selected (e.g., the active link “Amplifiers and Linear” allows the

display of items such as “Operational Amplifiers,” “Instrumentation Amplifiers,” “Current Sense

Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and “DC Power Current

Monitors” when it is selected) as shown below:




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See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       141.    On information and belief, in the ’880 Accused Instrumentalities, the one or more

active links allow the display of one or more items on a given level of the information structure

when a visual icon associated with one of the active links is selected (e.g., the active link

“Amplifiers and Linear” allows the display of items such as “Operational Amplifiers,”

“Instrumentation Amplifiers,” “Current Sense Amplifiers,” “Comparators,” “Programmable Gain

Amplifiers,” and “DC Power Current Monitors” when the “down arrow” icon is selected) as

shown below:




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See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020) (annotated).

       142.    On information and belief, in the ’880 Accused Instrumentalities, the active links

in the active path allow the display of one or more items on a given level of the information

structure without changing the active path (e.g., the active link “Amplifiers and Linear” in the

active path allows the display of “Operational Amplifiers,” “Instrumentation Amplifiers,”

“Current Sense Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and “DC Power

Current Monitors” without affecting the active path “Amplifiers and Linear—Comparators”) as

shown below:




See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       143.    On information and belief, in the ’880 Accused Instrumentalities, a user may

directly access one or more active links in the active path by selecting the active link (e.g., a user


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may directly access “Comparators” in the “Amplifiers and Linear—Comparators” active path by

selecting the “Comparators” link).

        144.    On information and belief, in the ’880 Accused Instrumentalities, the selection of

an active link causes the active path to truncate to the selected active link (e.g., the selection of

“Amplifiers and Linear” causes the active link “Automotive and Linear—Comparators” to

truncate to “Automotive and Linear”).

        145.    On information and belief, the ’880 Accused Instrumentalities are further

configured to provide pre-defined shortcuts to enable access to a given item in the information

structure (e.g., the ’880 Accused Instrumentalities provide pre-defined shortcuts such as

“Amplifiers and Linear” or “Comparators” in the collapsing menu enabling direct access to a

given menu item in the information structure ), wherein selection of a pre-defined shortcut

dynamically constructs an active path including one active link corresponding to each item

necessary to navigate to the given item in the information structure (e.g., the active path is

dynamically constructed upon selection of a predefined shortcut “Amplifiers and Linear” or

“Comparators,” including one active link “Amplifiers and Linear” or “Comparators”

corresponding to each item necessary to navigate to “Amplifiers and Linear” or “Comparators”

in the information structure).

        146.    On information and belief, in the ’880 Accused Instrumentalities, two functions

are associated with at least one of said active links (e.g., displaying sibling menus such as

“Operational Amplifiers,” “Instrumentation Amplifiers,” “Current Sense Amplifiers,”

“Comparators,” “Programmable Gain Amplifiers,” and “DC Power Current Monitors” and

directing user to certain content).




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        147.    On information and belief, in the ’880 Accused Instrumentalities, execution of

said functions is initiated by selecting different portions of said at least one of active link (e.g.,

by selecting “Automotive and Linear” of the active link “Automotive and Linear—Comparators”

to display sibling menus or direct user to certain content)..

        148.    On information and belief, in the ’880 Accused Instrumentalities, at least two

functions are associated with at least one of said active links (e.g., displaying sibling menus such

as “Operational Amplifiers,” “Instrumentation Amplifiers,” “Current Sense Amplifiers,”

“Comparators,” “Programmable Gain Amplifiers,” and “DC Power Current Monitors” and

directing user to certain content).

        149.    Discovery is expected to uncover the full extent of Defendant’s infringement of

the ’880 Patent beyond the ’880 Accused Instrumentalities already identified through public

information.

        150.    Upon information and belief, Defendant has induced and continues to induce

others to infringe at least Claims 1, 3-10, 12-20 and 22 of the ’880 Patent under 35 U.S.C.

§ 271(b) by, among other things, and with specific intent or willful blindness, actively aiding and

abetting others to infringe, including but not limited to Defendant’s new, current, and prospective

users, partners, customers and other third parties, whose use of the ’880 Accused

Instrumentalities constitutes direct infringement of at least Claims 1, 3-10, 12-20 and 22 of the

’880 Patent.

        151.    In particular, Defendant’s actions that aid and abet others such as its new, current,

and prospective users, partners, customers and third parties to infringe include advertising the

’880 Accused Instrumentality. On information and belief, Defendant has engaged in such

actions with specific intent to cause infringement or with willful blindness to the resulting




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infringement because Defendant has had actual knowledge of the ’880 Patent and knowledge

that its acts were inducing infringement of the ’880 Patent since at least the date Defendant

received notice based on the filing of this Complaint that such activities infringed the ’880

Patent.

          152.   Defendant’s acts of inducement include, without limitation: providing the ’880

Accused Instrumentalities to its new, current, and prospective users, partners, and customers, and

other third parties and intending them to use the ’880 Accused Instrumentalities that enable

and/or make use of content published therein; encouraging customers and other third parties to

communicate directly with Defendant’s representatives about the ’880 Accused Instrumentalities

and content published therein for purposes of technical assistance as well as sales and marketing

(see, e.g., https://microchipsupport.force.com/s/ (providing consumers with a technical support

portal through which technical issues and concerns regarding the ’880 Accused Instrumentalities

can be addressed); see, e.g., https://microchipsupport.force.com/s/support-

resources?tabName=Contact (providing contact information for technical support regarding the

’880 Accused Instrumentalities); see also id. (providing a community platform for discussing the

’880 Accused Instrumentalities or content published therein); see also

https://www.facebook.com/microchiptechnology/ (encouraging customers and other third parties

to use the ’880 Accused Instrumentalities to access content published therein (e.g., providing an

URL (https://page.microchip.com/ew-

Timing.html?utm_campaign=EmbeddedWorld2020&utm_source=facebook.com&utm_medium

=Post&utm_content=SharePoint43895.5417&fbclid=IwAR2TVwazReb1Ul3TgRAgkut-

aZY3eE_ikA0HfXVGI6vjYdziBuNwa5BtxOo) to a “Timing and System Solutions” webpage

that can be accessed using the ’880 Accused Instrumentalities)); see also




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https://www.microchip.com/about-us/company-information/acquisitions (recommending

investors and other third parties use the ’880 Accused Instrumentalities to access financial

information relating to Microchip’s cooperate operations and acquisitions); see also

https://www.microchip.com/documentlisting/financial-press-releases (for example,

https://www.microchip.com/investor/Pressrelease/MCHP%20Announces%20Financial%20Resul

ts%20for%20Q3FY20.020420.pdf providing an URL (www.microchip.com) to the ’880

Accused Instrumentalities); see also

https://twitter.com/MicrochipTech?ref_src=twsrc%5Egoogle%7Ctwcamp%5Eserp%7Ctwgr%5E

author, https://www.facebook.com/microchiptechnology/ and

https://www.linkedin.com/posts/microchip-technology_from-simple-buffers-and-clock-

generators-activity-6641422443871383552-bbea (Defendant’s social media accounts promoting

the use of ’880 Accused Instrumentalities through which various media content can be accessed);

providing press releases encouraging customers and other third parties to use the ’880 Accused

Instrumentalities to access content (for example, providing an URL (www.microchip.com) to the

“Microchip” main webpage that can be accessed using the ’880 Accused Instrumentalities); and

https://www.microchip.com/blog (providing blogs encouraging customers and other third parties

to use the ’880 Accused Instrumentalities to access content (for example, providing an URL

(https://www.microchip.com/wwwproducts/en/MCP6C02) to a “MCP6C02” webpage that can

be accessed using the ’880 Accused Instrumentalities))).

       153.    Defendant performed acts of inducement despite its actual knowledge since at

least the filing date of this Complaint and its knowledge that the specific actions it actively

induced and continues to actively induce on the part of its users, partners, and customers, and

other third parties constitute infringement of the ’880 Patent. At the very least, because




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Defendant has been, and remains, on notice of the ’880 Patent and the accused infringement, it

has been, and remains, willfully blind regarding the infringement that it has induced and

continues to induce.

       154.    On information and belief, Defendant has contributed to, and continues to

contribute to, infringement of at least Claims 1, 3-10, 12-20 and 22 of the ’880 Patent pursuant to

35 U.S.C. § 271(c) by providing the ’880 Accused Instrumentalities that have contributed, and

continue to contribute, to the direct infringement of new, current, and prospective users, partners,

customers and other third parties with the knowledge (at least as of the filing date of this

Complaint) that the ’880 Accused Instrumentalities are especially made or adapted for use in an

infringement of the ’880 Patent. For example, by providing the web pages, software, and

computer equipment identified above, Defendant contributes to the direct infringement of users

of said web pages, software, and computer equipment. The ’880 Accused Instrumentalities are

material components or apparatuses for use in practicing the ’880 Patent and are not staple

articles of commerce suitable for substantial non-infringing use.

       155.    For example, the ’880 Accused Instrumentalities provide a graphical user menu

system through which a user can navigate an information structure or an apparatus for navigating

an information structure according to the claimed invention(s). Defendant supplied, and

continues to supply, the ’880 Accused Instrumentalities, or components or apparatuses thereof,

with the knowledge of the ’880 Patent and with the knowledge that these components or

apparatuses constitute critical and material parts of the claimed inventions of the ’880 Patent.

Moreover, Defendant knows at least by virtue of its knowledge of its own products and services

and the ’880 Patent that the ’880 Accused Instrumentalities are especially made and/or especially




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adapted for use as claimed in the ’880 Patent and there is no substantial non-infringing use of

these components or apparatuses.

        156.    Defendant has directly and indirectly infringed the ’880 Patent and is thus liable

for infringement of the ’880 Patent pursuant to 35 U.S.C. § 271.

        157.    Plaintiffs have suffered, and continue to suffer, damages as a result of

Defendant’s infringement of the ’880 Patent.

        158.    Defendant has continued to infringe the ’880 Patent since at least the filing date of

this Complaint, despite being on notice of the ’880 Patent and its infringement. Defendant has

therefore infringed the ’880 Patent knowingly, willfully, deliberately, and in disregard of

Plaintiffs’ patent rights since at least the filing date of this Complaint, at least by infringing with

actual knowledge of its direct and indirect infringement or while remaining willfully blind to the

fact of its direct and indirect infringement. As a result of at least this conduct, Plaintiffs are

entitled to enhanced damages under 35 U.S.C. § 284 and to attorneys’ fees and costs under 35

U.S.C. § 285.

        159.    Plaintiffs reserve the right to modify its infringement theories as discovery

progresses in this case. Plaintiffs shall not be estopped for purposes of its infringement

contentions or its claim constructions by the foregoing discussions on how the ’880 Accused

Instrumentalities infringe the ’880 Patent. Plaintiffs intend only that the foregoing discussions

satisfy the notice requirements of Rule 8(a)(2) of the Federal Rule of Civil Procedure, and that

they should not be construed as Plaintiffs’ preliminary or final infringement contentions or

preliminary or final claim construction positions.




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                 COUNT VI - INFRINGEMENT OF U.S. PATENT NO. 10,037,127

          160.    Plaintiffs incorporate and reallege the preceding paragraphs as if fully set forth

herein.

          161.    The ’127 Patent is directed to systems and methods for navigating an information

structure, as described and claimed in the ’880 Patent.

          162.    The ’127 Patent is directed to systems and methods for navigating an information

structure, as described and claimed in the ’127 Patent.

          163.    Defendant has and continues to directly infringe at least Claims 1, 3-11, 13-14,

16-24 and 26 of the ’127 Patent, in this judicial District and elsewhere in the United States,

pursuant to 35 U.S.C. § 271(a), literally or under the doctrine of equivalents, by, among other

things, by making, using, selling, offering to sell, and/or importing in or into the United States,

without authority: (i) web pages and content to be interactively presented in browsers, including,

without limitation, the web pages and content accessible via https://www.microchip.com/ and

maintained on servers located in and/or accessible from the United States under the control of

Defendant; (ii) software, including, without limitation, software that allows content to be

interactively presented in and/or served to browsers; (iii) computer equipment, including,

without limitation, computer equipment that stores, serves, and/or runs any of the foregoing or

that allows navigating an information structure (hereinafter, the “’880 Accused

Instrumentalities”) as shown below:




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See, e.g., https://www.microchip.com/design-centers/automotive-solutions/automotive-

applications (last visited Feb. 10, 2020) (annotated).

       164.    By way of example, the ’127 Accused Instrumentalities provide an apparatus for

navigating an information structure as shown below:




See, e.g., https://www.microchip.com/design-centers/automotive-solutions/automotive-

applications (last visited Feb. 10, 2020) (annotated).




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       165.    More specifically, the ’127 Accused Instrumentalities provide a graphical menu

interface displaying the items of a given level of the information structure and enabling selection

thereof (e.g., “Products” displays and enables selection of items of a given level, such as

“Amplifiers and Linear”); dynamically construct an active path as a sequence of active links after

an item of the information structure has been selected (e.g., the ’127 Accused Instrumentalities

dynamically construct an active path (e.g., “Amplifiers and Linear—Comparators”) as a

sequence of active links after an item of the information structure has been selected (e.g., as

“Amplifiers and Linear” and “Comparators” are selected)); upon provisional selection of a given

one of said active links, display one or more items on a given level of the information structure

associated with said provisionally selected active link without affecting the active path (e.g., the

’127 Accused Instrumentalities displays one or more items under “Amplifiers and Linear” such

as “Operational Amplifiers,” “Instrumentation Amplifiers,” “Current Sense Amplifiers,”

“Comparators,” “Programmable Gain Amplifiers,” and “DC Power Current Monitors” without

affecting the active path “Amplifiers and Linear—Comparators”) as shown below:




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See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       166.    Also, the ’127 Accused Instrumentalities allow a user to access an item in the

information structure by selecting the item from the one or more items displayed by one of the

active links on the active path, wherein a function is associated with at least one of said active

links (e.g., the “Amplifiers and Linear” link in the active path “Amplifiers and Linear—

Comparators” allows a user to access an item in the information structure such as “Operational

Amplifiers,” “Instrumentation Amplifiers,” “Current Sense Amplifiers,” “Comparators,”

“Programmable Gain Amplifiers,” and “DC Power Current Monitors” by selecting from the one

or more items displayed by “Amplifiers and Linear” where it is associated with a function such

as displaying sibling menus or directing user to certain content) as shown below:




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See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       167.   On information and belief, the ’127 Accused Instrumentalities are further

configured to allow provisional selection of the one or more items to display one or more

additional items on a given level of the information structure as shown below:




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See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       168.    On information and belief, in the ’127 Accused Instrumentalities, the one or more

active links allow the display of one or more items on a given level of the information structure

when a pointer is rolled over one of the active links (e.g., the active link “Amplifiers and Linear”

allows the display of items such as “Operational Amplifiers,” “Instrumentation Amplifiers,”

“Current Sense Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and “DC Power

Current Monitors” when a mouse is rolled over it) as shown below:




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See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       169.    On information and belief, in the ’127 Accused Instrumentalities, the one or more

active links allow the display of one or more items on a given level of the information structure

when one of the active links is selected (e.g., the active link “Amplifiers and Linear” allows the

display of items such as “Operational Amplifiers,” “Instrumentation Amplifiers,” “Current Sense

Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and “DC Power Current

Monitors” when it is selected) as shown below:




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See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       170.    On information and belief, in the ’127 Accused Instrumentalities, the one or more

active links allow the display of one or more items on a given level of the information structure

when a visual icon associated with one of the active links is selected (e.g., the active link

“Amplifiers and Linear” allows the display of items such as “Operational Amplifiers,”

“Instrumentation Amplifiers,” “Current Sense Amplifiers,” “Comparators,” “Programmable Gain

Amplifiers,” and “DC Power Current Monitors” when the “down arrow” icon is selected) as

shown below:




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See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020) (annotated).

       171.    On information and belief, in the ’127 Accused Instrumentalities, the active links

in the active path allow the display of one or more items on a given level of the information

structure without changing the active path (e.g., the active link “Amplifiers and Linear” in the

active path allows the display of “Operational Amplifiers,” “Instrumentation Amplifiers,”

“Current Sense Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and “DC Power

Current Monitors” without affecting the active path “Amplifiers and Linear—Comparators”) as

shown below:




See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       172.    On information and belief, in the ’127 Accused Instrumentalities, a user may

directly access one or more active links in the active path by selecting the active link (e.g., a user


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may directly access “Comparators” in the “Amplifiers and Linear—Comparators” active path by

selecting the “Comparators” link).

        173.    On information and belief, in the ’127 Accused Instrumentalities, the selection of

an active link causes the active path to truncate to the selected active link (e.g., the selection of

“Amplifiers and Linear” causes the active link “Automotive and Linear—Comparators” to

truncate to “Automotive and Linear”).

        174.    On information and belief, the ’127 Accused Instrumentalities further provide

pre-defined shortcuts to enable access to a given item in the information structure (e.g., the ’127

Accused Instrumentalities provide pre-defined shortcuts such as “Amplifiers and Linear” or

“Comparators” in the collapsing menu enabling direct access to a given menu item in the

information structure), wherein selection of a pre-defined shortcut dynamically constructs an

active path including one active link corresponding to each item necessary to navigate to the

given item in the information structure (e.g., the active path is dynamically constructed upon

selection of a predefined shortcut “Amplifiers and Linear” or “Comparators,” including one

active link “Amplifiers and Linear” or “Comparators” corresponding to each item necessary to

navigate to “Amplifiers and Linear” or “Comparators” in the information structure).

        175.    On information and belief, in the ’127 Accused Instrumentalities, two functions

are associated with at least one of said active links (e.g., displaying sibling menus such as

“Operational Amplifiers,” “Instrumentation Amplifiers,” “Current Sense Amplifiers,”

“Comparators,” “Programmable Gain Amplifiers,” and “DC Power Current Monitors” and

directing user to certain content).

        176.    On information and belief, in the ’127 Accused Instrumentalities, execution of

said functions is initiated by selecting different portions of said at least one of active link (e.g.,




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by selecting “Amplifiers and Linear” of the active link “Automotive and Linear—Comparators”

to display sibling menus or direct user to certain content).

       177.    On information and belief, in the ’127 Accused Instrumentalities, at least two

functions are associated with at least one of said active links (e.g., displaying sibling menus such

as “Operational Amplifiers,” “Instrumentation Amplifiers,” “Current Sense Amplifiers,”

“Comparators,” “Programmable Gain Amplifiers,” and “DC Power Current Monitors” and

directing user to certain content).

       178.    On information and belief, the ’127 Accused Instrumentalities perform a method

for navigating an information structure, comprising providing a graphical menu interface

displaying the items of a given level of the information structure and enabling selection thereof

(e.g., “Products” displays and enables selection of items of a given level, such as “Amplifiers

and Linear”); dynamically construct an active path as a sequence of active links after an item of

the information structure has been selected (e.g., the ’880 Accused Instrumentalities dynamically

construct an active path (e.g., “Automotive and Linear—Comparators”) as a sequence of active

links after an item of the information structure has been selected (e.g., as “Amplifiers and

Linear” and “Comparators” are selected)); upon provisional selection of a given one of said

active links, display one or more items on a given level of the information structure associated

with said provisionally selected active link without affecting the active path (e.g., the ’880

Accused Instrumentalities displays one or more items under “Amplifiers and Linear” such as

“Operational Amplifiers,” “Instrumentation Amplifiers,” “Current Sense Amplifiers,”

“Comparators,” “Programmable Gain Amplifiers,” and “DC Power Current Monitors” without

affecting the active path “Amplifiers and Linear—Comparators”) as shown below:




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See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       179.    On information and belief, in the ’127 Accused Instrumentalities allow a user to

access an item in the information structure by selecting the item from the one or more items

displayed by one of the active links on the active path, wherein a function is associated with at

least one of said active links (e.g., the link “Amplifiers and Linear” in the active path

“Amplifiers and Linear—Comparators” allows a user to access an item in the information

structure such as “Operational Amplifiers,” “Instrumentation Amplifiers,” “Current Sense

Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and “DC Power Current

Monitors” by selecting from the one or more items displayed by “Amplifiers and Linear” where

at least one of the active links is associated with a function such as displaying sibling menus or

directing user to certain content) as shown below:




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See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       180.    On information and belief, in the ’127 Accused Instrumentalities, the active path

is further configured to allow provisional selection of the one or more active links to display one

or more additional items on a given level of the information structure as shown below:




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See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       181.    On information and belief, in the ’127 Accused Instrumentalities, the one or more

active links allow the display of one or more items on a given level of the information structure

when a pointer is rolled over one of the active links (e.g., the active link “Amplifiers and Linear”

allows the display of items such as “Operational Amplifiers,” “Instrumentation Amplifiers,”

“Current Sense Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and “DC Power

Current Monitors” when a mouse is rolled over it) as shown below:




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See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       182.    On information and belief, in the ’127 Accused Instrumentalities, the one or more

active links allow the display of one or more items on a given level of the information structure

when one of the active links is selected (e.g., the active link “Amplifiers and Linear” allows the

display of items such as “Operational Amplifiers,” “Instrumentation Amplifiers,” “Current Sense

Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and “DC Power Current

Monitors” when it is selected) as shown below:




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See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       183.    On information and belief, in the ’127 Accused Instrumentalities, the one or more

active links allow the display of one or more items on a given level of the information structure

when a visual icon associated with one of the active links is selected (e.g., the active link

“Amplifiers and Linear” allows the display of items such as “Operational Amplifiers,”

“Instrumentation Amplifiers,” “Current Sense Amplifiers,” “Comparators,” “Programmable Gain

Amplifiers,” and “DC Power Current Monitors” when the “down arrow” icon is selected) as

shown below:




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See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020) (annotated).

       184.    On information and belief, in the ’127 Accused Instrumentalities, the active links

in the active path allow the display of one or more items on a given level of the information

structure without changing the active path (e.g., the active link “Amplifiers and Linear” in the

active path allows the display of “Operational Amplifiers,” “Instrumentation Amplifiers,”

“Current Sense Amplifiers,” “Comparators,” “Programmable Gain Amplifiers,” and “DC Power

Current Monitors” without affecting the active path “Amplifiers and Linear—Comparators”) as

shown below:




See, e.g., https://www.microchip.com/design-centers/amplifiers-linear/comparators (last visited

Feb. 10, 2020).

       185.    On information and belief, in the ’127 Accused Instrumentalities, a user may

directly access one or more active links in the active path by selecting the active link (e.g., a user


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may directly access “Comparators” in the “Amplifiers and Linear—Comparators” active path by

selecting the “Comparators” link).

        186.    On information and belief, in the ’127 Accused Instrumentalities, the selection of

an active link causes the active path to truncate to the selected active link (e.g., the selection of

“Amplifiers and Linear” causes the active link “Automotive and Linear—Comparators” to

truncate to “Automotive and Linear”).

        187.    On information and belief, the ’127 Accused Instrumentalities are further

configured to provide pre-defined shortcuts to enable access to a given item in the information

structure (e.g., the ’127 Accused Instrumentalities provide pre-defined shortcuts such as

“Amplifiers and Linear” or “Comparators” in the collapsing menu enabling direct access to a

given menu item in the information structure ), wherein selection of a pre-defined shortcut

dynamically constructs an active path including one active link corresponding to each item

necessary to navigate to the given item in the information structure (e.g., the active path is

dynamically constructed upon selection of a predefined shortcut “Amplifiers and Linear” or

“Comparators,” including one active link “Amplifiers and Linear” or “Comparators”

corresponding to each item necessary to navigate to “Amplifiers and Linear” or “Comparators”

in the information structure).

        188.    On information and belief, in the ’127 Accused Instrumentalities, two functions

are associated with at least one of said active links (e.g., displaying sibling menus such as

“Operational Amplifiers,” “Instrumentation Amplifiers,” “Current Sense Amplifiers,”

“Comparators,” “Programmable Gain Amplifiers,” and “DC Power Current Monitors” and

directing user to certain content).




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        189.    On information and belief, in the ’127 Accused Instrumentalities, execution of

said functions is initiated by selecting different portions of said at least one of active link (e.g.,

by selecting “Amplifiers and Linear” of the active link “Automotive and Linear—Comparators”

to display sibling menus or direct user to certain content).

        190.    On information and belief, in the ’127 Accused Instrumentalities, at least two

functions are associated with at least one of said active links (e.g., displaying sibling menus such

as “Operational Amplifiers,” “Instrumentation Amplifiers,” “Current Sense Amplifiers,”

“Comparators,” “Programmable Gain Amplifiers,” and “DC Power Current Monitors” and

directing user to certain content).

        191.    Discovery is expected to uncover the full extent of Defendant’s infringement of

the ’127 Patent beyond the ’127 Accused Instrumentalities already identified through public

information.

        192.    Upon information and belief, Defendant has induced and continues to induce

others to infringe at least Claims 1, 3-11, 13-14, 16-24 and 26 of the ’127 Patent under 35 U.S.C.

§ 271(b) by, among other things, and with specific intent or willful blindness, actively aiding and

abetting others to infringe, including but not limited to Defendant’s new, current, and prospective

users, partners, customers and other third parties, whose use of the ’127 Accused

Instrumentalities constitutes direct infringement of at least Claims 1, 3-11, 13-14, 16-24 and 26

of the ’127 Patent.

        193.    In particular, Defendant’s actions that aid and abet others such as its new, current,

and prospective users, partners, customers and third parties to infringe include advertising the

’127 Accused Instrumentality. On information and belief, Defendant has engaged in such

actions with specific intent to cause infringement or with willful blindness to the resulting




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infringement because Defendant has had actual knowledge of the ’127 Patent and knowledge

that its acts were inducing infringement of the ’127 Patent since at least the date Defendant

received notice based on the filing of this Complaint that such activities infringed the ’127

Patent.

          194.   Defendant’s acts of inducement include, without limitation: providing the ’127

Accused Instrumentalities to its new, current, and prospective users, partners, and customers, and

other third parties and intending them to use the ’127 Accused Instrumentalities that enable

and/or make use of content published therein; encouraging customers and other third parties to

communicate directly with Defendant’s representatives about the ’127 Accused Instrumentalities

and content published therein for purposes of technical assistance as well as sales and marketing

(see, e.g., https://microchipsupport.force.com/s/ (providing consumers with a technical support

portal through which technical issues and concerns regarding the ’127 Accused Instrumentalities

can be addressed); see, e.g., https://microchipsupport.force.com/s/support-

resources?tabName=Contact (providing contact information for technical support regarding the

’127 Accused Instrumentalities); see also id. (providing a community platform for discussing the

’127 Accused Instrumentalities or content published therein); see also

https://www.facebook.com/microchiptechnology/ (encouraging customers and other third parties

to use the ’127 Accused Instrumentalities to access content published therein (e.g., providing an

URL (https://page.microchip.com/ew-

Timing.html?utm_campaign=EmbeddedWorld2020&utm_source=facebook.com&utm_medium

=Post&utm_content=SharePoint43895.5417&fbclid=IwAR2TVwazReb1Ul3TgRAgkut-

aZY3eE_ikA0HfXVGI6vjYdziBuNwa5BtxOo) to a “Timing and System Solutions” webpage

that can be accessed using the ’127 Accused Instrumentalities)); see also




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https://www.microchip.com/about-us/company-information/acquisitions (recommending

investors and other third parties use the ’127 Accused Instrumentalities to access financial

information relating to Microchip’s cooperate operations and acquisitions); see also

https://www.microchip.com/documentlisting/financial-press-releases (for example,

https://www.microchip.com/investor/Pressrelease/MCHP%20Announces%20Financial%20Resul

ts%20for%20Q3FY20.020420.pdf providing an URL (www.microchip.com) to the ’127

Accused Instrumentalities); see also

https://twitter.com/MicrochipTech?ref_src=twsrc%5Egoogle%7Ctwcamp%5Eserp%7Ctwgr%5E

author, https://www.facebook.com/microchiptechnology/ and

https://www.linkedin.com/posts/microchip-technology_from-simple-buffers-and-clock-

generators-activity-6641422443871383552-bbea (Defendant’s social media accounts promoting

the use of ’127 Accused Instrumentalities through which various media content can be accessed);

providing press releases encouraging customers and other third parties to use the ’127 Accused

Instrumentalities to access content (for example, providing an URL (www.microchip.com) to the

“Microchip” main webpage that can be accessed using the ’127 Accused Instrumentalities); and

https://www.microchip.com/blog (providing blogs encouraging customers and other third parties

to use the ’127 Accused Instrumentalities to access content (for example, providing an URL

(https://www.microchip.com/wwwproducts/en/MCP6C02) to a “MCP6C02” webpage that can

be accessed using the ’127 Accused Instrumentalities))).

       195.    Defendant performed acts of inducement despite its actual knowledge since at

least the filing date of this Complaint and its knowledge that the specific actions it actively

induced and continues to actively induce on the part of its users, partners, and customers, and

other third parties constitute infringement of the ’127 Patent. At the very least, because




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Defendant has been, and remains, on notice of the ’127 Patent and the accused infringement, it

has been, and remains, willfully blind regarding the infringement that it has induced and

continues to induce.

       196.    On information and belief, Defendant has contributed to, and continues to

contribute to, infringement of at least Claims 1, 3-11, 13-14, 16-24 and 26 of the ’127 Patent

pursuant to 35 U.S.C. § 271(c) by providing the ’127 Accused Instrumentalities that have

contributed, and continue to contribute, to the direct infringement of new, current, and

prospective users, partners, customers and other third parties with the knowledge (at least as of

the filing date of this Complaint) that the ’127 Accused Instrumentalities are especially made or

adapted for use in an infringement of the ’127 Patent. For example, by providing the web pages,

software, and computer equipment identified above, Defendant contributes to the direct

infringement of users of said web pages, software, and computer equipment. The ’127 Accused

Instrumentalities are material components or apparatuses for use in practicing the ’127 Patent

and are not staple articles of commerce suitable for substantial non-infringing use.

       197.    For example, the ’127 Accused Instrumentalities provide a graphical user menu

system through which a user can navigate an information structure or an apparatus for navigating

an information structure according to the claimed invention(s). Defendant supplied, and

continues to supply, the ’127 Accused Instrumentalities, or components or apparatuses thereof,

with the knowledge of the ’127 Patent and with the knowledge that these components or

apparatuses constitute critical and material parts of the claimed inventions of the ’127 Patent.

Moreover, Defendant knows at least by virtue of its knowledge of its own products and services

and the ’127 Patent that the ’127 Accused Instrumentalities are especially made and/or especially




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adapted for use as claimed in the ’127 Patent and there is no substantial non-infringing use of

these components or apparatuses.

        198.    Defendant has directly and indirectly infringed the ’127 Patent and is thus liable

for infringement of the ’127 Patent pursuant to 35 U.S.C. § 271.

        199.    Plaintiffs have suffered, and continue to suffer, damages as a result of

Defendant’s infringement of the ’127 Patent.

        200.    Defendant has continued to infringe the ’127 Patent since at least the filing date of

this Complaint, despite being on notice of the ’127 Patent and its infringement. Defendant has

therefore infringed the ’127 Patent knowingly, willfully, deliberately, and in disregard of

Plaintiffs’ patent rights since at least the filing date of this Complaint, at least by infringing with

actual knowledge of its direct and indirect infringement or while remaining willfully blind to the

fact of its direct and indirect infringement. As a result of at least this conduct, Plaintiffs are

entitled to enhanced damages under 35 U.S.C. § 284 and to attorneys’ fees and costs under 35

U.S.C. § 285.

        201.    Plaintiffs reserve the right to modify its infringement theories as discovery

progresses in this case. Plaintiffs shall not be estopped for purposes of its infringement

contentions or its claim constructions by the foregoing discussions on how the ’127 Accused

Instrumentalities infringe the ’127 Patent. Plaintiffs intend only that the foregoing discussions

satisfy the notice requirements of Rule 8(a)(2) of the Federal Rule of Civil Procedure, and that

they should not be construed as Plaintiffs’ preliminary or final infringement contentions or

preliminary or final claim construction positions.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs demand judgment for itself and against Defendant as follows:




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        a.      A judgment that Defendant has infringed, and continues to infringe, one or more

claims of each of the Asserted Patents;

        b.      A judgment that Defendant has induced infringement, and continues to induce

infringement, of one or more claims of each of the Asserted Patents;

        c.      A judgment that Defendant has contributed to, and continues to contribute, to the

infringement of one or more claims of each of the Asserted Patents;

        d.      A judgment that Defendant has willfully infringed one or more claims of each of

the Asserted Patents;

        e.      A judgment awarding Plaintiffs all damages adequate to compensate for

Defendant’s infringement, and in no event less than a reasonable royalty for Defendant’s acts of

infringement, including all pre-judgment and post-judgment interest at the maximum rate

allowed by law;

        f.      A judgment awarding Plaintiffs treble damages pursuant to 35 U.S.C. § 284 as a

result of Defendant’s willful conduct;

        g.      A judgment and order finding that this is an exceptional case within the meaning

of 35 U.S.C. § 285 and awarding Plaintiffs their reasonable attorneys’ fees; and

        h.      A judgment awarding Plaintiffs such other relief as the Court may deem just and

equitable.

                                 DEMAND FOR JURY TRIAL

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demand a trial

by jury of this action.




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Dated: March 27, 2020             DEVLIN LAW FIRM LLC

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